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     IN Till.; COURT OF CRIMINAL Al ~EALS ' i_
                                 AT NASHVILLE, TENN.                                         -
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             ~J           APPEALED FROM
 p   RECE\VEO JJ ~vidson County Criminal Court Divison j Tf\, J (                                r£ ~
      ..\n\1 'J ·.1 1UU<3                             F t L ED                                    t_
  ~ R~l.ESTEVE               JUDGE~ PRESIDJNG                                                     ~




                                                                           Clerk of the Courts
 DEFENDANT BRAXTONJSAT'IURNEYCEN'IER.AND DEFENDANTHARRIS.ISATCHARI.ESBASS


 , CER.'l1FIED                  STATE OF TENNESSEE                                APPEALED
   T...-.ript

 CAUSE
      OF
                                              -
                             .FRErlERf.Q( BRAXroN 1332561
                             LOONARD BAlUUS #2.34052
                             Ml009-0173>CCA-RJ..CD
                                                                                      TO
                                                                                      OF
                                                                                  Next Term,
                                                                                   lO_

                                Exw:wt~M~ No. _1!»7_~_732
                                                      _ _ _ __

                                 COURT OF CRIMINAL APPEALS

 JUDGMENT WWER COURT



 TO SERVE 19 YEARS AND DEFENDANT RARRl8 WAS fO{iNOGUn.TY OF ATfE.MPI'ED SliOJNDDB.JREE




                                          ATTORNEYS




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       COVERS


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              '----n_U_O__._V-"-?kfr----- TERM, 20.fil_, CRll\1INAL COURT
STATE OF TENNESSEE


vs.                                                           NO.   200J-- A - ~) 2-
LEONARD CARDELL HARRIS, Ct. t
FREDERICK EDWARD BRAXTON, Cts. 1-2
  a.k.a. Frederick :Frank Brown

PROSECUTOR: Terrance Bradley                CIIARGE:      Ct. 1 Att. Mm·der- 181 Degree
                                                          Ct. 2 Simple Poss.




                                                                                            ......   - ~



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                       The above witness(cs) appeared; was/were dul)l
                       sworn by me, the toreperson, and gave
                       testimony before the ~rand Jurt}) the ~ove­
                                                                             MAR 1 S 2007
                       styled cause tJtis J$!_~ay of
                       20_Qt:.
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             'Efl    AT                         D                            EBILL



                         Forcperso1
                         Davidson ...ounty Grand Jury
                                                                             --
SUBPOENA TilE FOLI..OWING WTTNES illS FOR TilES TATE OF TENNESSEE:
COMPLAINT No(s): 2006-090683; 2   6-090583; 2006-149647
Tetrancc Bradley, MPD #0000691 )
James Williams, 703 Nmth 9th Street, Nashville, TN 37206
Kenneth Miller, 549 Clcarview Road, Cottontown, TN 37048
Robert Henry, 1070 West Main Street, Hendersonville, TN 37075
Michael Windsor, .MPD #00004884
Woodrow Ledlord, MPD #00004925
Jason Smith, MPD #00008813
Michael Wilson, MPD #00008947




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                          INDICTMENT

                   State of Tennessee, Davidson County

                                        COUNT 1



        THE GRAND JURORS of Davidson County, Tennessee, duly impaneled and

 swom, upon their oath, present that:

  FREDERICK EDWARD BRAXTON a.k.a. FREDERICK FRANK BROWN and
                            LEONARD CARDELL HARRIS



 on the 15u' day of February, 2006, in Davidson County, Tennessee and betore the

 finding of this indictment, did attempt to intentionaUy and with premeditation kill

 James 'Williams, in violation of Tennessee Code Annotated §39-13-202, and against the

 peace and dignity of the State ofTennessee.




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 5 of 116 PageID #: 39
                                          COlJNT 2



        THE GRAND JURORS of Davidson County, Tennessee, duly impaneled and

 sworn, upon their oath, present that:

     FREDERICK EDWARD BRAXTON a.k.a. FREDERICK FRANK BROWN

 on the 171h day of March, 2006, in Davidson County, Tennessee and betore the finding

 of this indictment, knowingly did possess or    ca~ually   exchange marijuana, a Schedule

 VI controlled substance, and the controlled substance was not obtained directly from, or

 pursuant to, a valid prescription or order of a practitioner while acting in the course of his

 professional practice, and without any authorization under the law, in violation of

 Tennessee Code Annotated §39-17-418, and against the peace and dignity ofthe State of

 Tennessee.




                                                                                   .,_. ..
                                                    VICTORS. JOHNSON HI
                                                    DISTRJCT ATTORi-IEY GENERAL
                                                    TWENTIETH JUDICIAl. DISTRICT




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 6 of 116 PageID #: 40
       IN THE CRIMINAL COURT FOR DAVIDSON COUNTY, TENNESSEE

                                    DIVISION I

STATE OF TENNESSE E

vs .                                                 NO. 2007 -A-73 2

FREDERICK BRAXTON



                      DEFENDANT'S NOTICE OF CONFLICT


             The   under signed attorney hereby of fer                not ice to    this

Honorable Court t hat there i s a conf lict in t h e representation of

Frederick Braxton by the Metropolitan Public Defender 's Office.

             Mr.   Braxton has been i ndicted in the above-referenced

case for Att e mped First Degree Murder and Simple Possession of a

Controlled Substance

             The    Public     Defender's        Offi ce       has    several      t imes

represented t h e complaining witn ess , James Anthony Williams, most

notably in 1997 - 1998 for a p ossess ion of a con tro lled substance

a nd weapons c harge.     As counsel ant icipates that                t h e defense of

t he above listed matter will involve impeachme nt and or attacks

upon   the    credibi l ity    of   Mr .    Wi l liams,    counse l     believes     her

continued representation of Mr.              Braxton to be in conflict with

her continuing duty of loyalty to Mr. Williams.

             Undersigned counse l          hereby informs       this Court of this

conflict     and   r equests   tha t   this    Court      to   relieve    the   public

defender's office and appoint new counse l for Mr . Braxton.




  Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 7 of 116 PageID #: 41
                                                     Respect f ully Submitte d,

                                                   .

                                                     =s~
                                                     Tn. Sup. Ct. No .. 1 86 91


                                     CERTIFICATE OF SERVICE

                I    hereby c ertify          that     a   t rue a nd exact      c opy of   the

foregoing           Notic e    has     been    de livered      to   the   Off ice     of    Amy

Ei s enbeck ,        Ass i s t ant     Di strict       At t orney   for   t he     Sta te    of

Tennessee , on         this~~           d ay of May, 2 00 7 .

                                              ~-:lr-e-1~1--------------




  Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 8 of 116 PageID #: 42
                     IN TilE CRIMINAL COURT OF DAVIDSON COUN1Y, TENNESSEE, DIVISION I
                     MINUTES, MARCH 28,2007


                     STATE OF TENNESSEE

                     vs.                  CASE NO. 2007-A-732

                     FREDERICK EDWARD BRAXTON

                     CAME THE ATfORNEY GENERAL WHO PROSECUTES FOR THE STATE Willi 1HE
2007-/\-732          DEFENDANT BY VIDEOTAPE, BEING REPRESENTED BY COUNSEL, WHO BEING
                     ARRAIGNED UPON SAl D INDICTl\1ENT PLED NOT GUI LTV TO 1HE SAME, AND A
ARRI\IGNMENT         COPY OF THE INDICTl\1ENT WAS FURNISHED COUNSEL FOR 1HE DEFENDANT.
TI-ITSCAUSR IS
CONTINUEJ)           1HEREUPON, TillS CAUSE IS CONTINUED UNTIL APRIL 26,2007 AT 9:00AM.
UNllL APRIL 26,
2007 /\T 9:00 1\M.   AMY HARWELL, ATTORNEY FOR DEFENDANT

                     AMY EISENBECK, ASSISTANT DISTRICT ATTORNEY




                     ORDERED THAT COURT STAND ADJOURNED 1JNTILlN THE MORNING ATNJNE
                     O'CLOCK.


                                             STEVE DOZIER, JUDGE


                                                                                                         0'
              Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 9 of 116 PageID #: 43
                                                                                      !I   i t., ~ ' ~ \ \.)
                   IN THE CRIMINAL COURT OF DAVIDSON COUNTY, TENNESSEE, DIVISION I
                   MINUTES, MARCH 28, 2007


                   STATE OF TENNESSEE

                   VS.                  CASE NO. 2007-A-732

                   LEONARD CARDELL HARRI S

                   CAME THE ATIORNI:'Y GEN ERAL WHO PROSECUTES FOR THE STATE AND 1HE
2007-A-732         DEFENDANT IN PERSON, BEING REPRESENTED BY COUNSEL, WHO BEJNG
                   ARRAIGNED UPON SAID INDICTMENT PLED N OT GUILTY TO THE SAME, AND A
ARRAIGNMENT        COPY OF 1HE INDICTMENT WAS FURNISHED TI-J E DEFENDANT.
TillS CAUSE IS
CONTINUED          THEREUPON, THIS CAUSE IS CONTINUED UNTJL APRIL 26, 2007 AT 9:00AM.
UNTIL APRiL 26,
2007 AT 9:00 AM.   KARL PULLEY, ATTORNEY FOR DEF ENDANT

                   AMY EISENB.ECK, ASSISTANT DISTRICT ATTORNEY




                   0RDERED1HAT.COURTSTANDADJOURNEDUNTIL IN THE MORNING AT NINE
                   O'CLOCK.


                                           STEVE DOZIER. JUDGE




             Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 10 of 116 PageID #: 44
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              IN THE CRIMINAL COURT FOR DAVIDSON COUNTY,              TE~ i L.!:~ l.J
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                                                                              DAVID C r·v..
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STATE OF TENNESSEE

vs.
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                                           )     CASE NO: 2007-A-732
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                                           )
                                           )
LEONARD C. HARRIS                          )


                     NOTICE OF INTENT TO USE CONVICTIONS
                 OR PRIOR BAD ACTS FOR IMPEACHMENT PURPOSES

       The Office of the District Attomey General, prosecuting on behalf of the State of

Tennessee, pursuant to Tennessee Rules of Evidence 609 and 405, gives notice of its intent to

use the following acts or convictions for impeachment purposes should the defendant testify in

this cause:

Offense                   Case Number          Court      County       State
Possession of Cocaine     93-D- 1410           Criminal   D avidson    Tennessee
for Resale
Theft of Property over    93-D-1410            Criminal   Davidson     Tennessee
$500.00
Tampering with            93-D-1410            Criminal   Davidson     Tennessee
Evidence
Theft of Property under   GS186961         General        Davidson     Tetmessee
$500.00                   (conviction dale Sessions
                          9/23/ 1991)




                                                          1 nbeck
                                                             . Reg. #021865
                                                Assistant tstrict Attorney General
                                                Washington Square, Suite 500
                                                222 Second A venue North
                                                Nashville, TN 37201 - 1649
                                                (615) 862-5500



  Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 11 of 116 PageID #: 45
                                                                                            0 \j   l.' :._: \ ,   "j
                                                                                                 .,




                                CERTIFICATE OF SERVICE


       I hereby certify that a true and exact copy of the foregoing has been mailed to Karl

Pulley, P.O. Box 68352, Nashville, TN 37206, on this the   (~ay of November, 2007.




  Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 12 of 116 PageID #: 46
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                                                                               I .•   , I       ••.._.
              IN THE CRIMINAL COURT FOR DAVIDSON COUNTY, TENN~SS~R p..:                                    f1,
                                     DIVISlON I            . ~u~ ti....,;
                                                                          ..IM1Wov 16           PH 2: 47
STATE Of TENNESSEE

vs.
                                           )
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                                           )   CASE NO: 2007-A-732
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                                           )
FREDERICK E. BRAXTON                       )


                     NOTICE OF INTENT TO USE CONVICTIONS
                 OR PRIOR BAD ACTS :FOR IMPEACHMENT PURPOSES

       The Office of the District Attorney General, prosecuting on bch!llf of the State of

Tennessee, pw·suant to Tennessee Rules of Evidence 609 and 405, gives notice of its intent to

use the following acts or convictions for impeachment purposes should the defendant testify in

this cause:

OFFENSE                   Date of    CASE               COURT            COUNTY             STATE
                          Conviction NUMBER
Felony Possession of a    1/8/2004   2003-C-2042        Criminal         Davidson           Tennessee
Handgun                                                 Court
                                                        Division lli
Possession of Under .5g 8/26/2006      2005-B-1282      Criminal         Davidson           Tennessee
of Cocaine for Resale                                   Court
                                                        Division III
Voluntary Manslaughter    4/2/2001     2000-C-1394      Criminal         Davidson           Tennessee
                                                        Court
                                                        Division ITT

                                               Respectfully submitted,



                                               An H ~ ·senbcck
                                               Tenn. up. Ct. Reg. #021865
                                               Assistar    istrict Attorney General
                                               Washington Square, Suite 500
                                               222 Second A venue North
                                               Nashville, TN 3720 1-1649
                                               (61 5) 8G2-5500

 Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 13 of 116 PageID #: 47
                                                                                                         :l J .~; (...) ''-.   -i ~~
                                                                                                                                  \,
                                CERTIFICATE OF SERVICE


        1 hereby certify thal a true and exact copy of the foregoing has been mailed to David

Hopkins, 306 Gay Street ste. 307, Nashville, TN 37201 , on this the   ~ay of November,
2007.




  Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 14 of 116 PageID #: 48
                       lN THE CRIMINAL COURT FOR DAVIDSON COUNTY, 1 C:NNESSEE
                                              DIVISION I
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         STATE OF TENNESSEE                           )                                -·
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                                                      )                             Z007 NOV 16 PM 2: 47
         vs.                                          )    CASE NO: 2007-A-7320;\\/I!J C. 1t              :0' I   ·~a: CLERK
                                                      )
                                                      )                                          -t7'----                0C
         LEONARD C. TIARRIS                           )


                                          NOTICE OF ENHANCED PUNISHMENT


                The Office of the District Attorney General, prosecuting on behalf of the State of Tennessee,

         pursuant to Tennessee Code Annotated §40-35-202, gives notice that at the sentencing hearing it wi ll

         seek to have the defendant sentenced to an enhanced punishment pursuant to Tennessee Code Annotated

         §40-35- 106, et seq. At the sentencing hearing, the State will show the following convictions:

          Offense                    Case Number          Court       Cotmty        State
    ./
          Possession of Cocaine      93-D-1410            Criminal    Davidson      Tennessee
          for Resale
          Theft ofProperty over      93-D-141 0           Criminal    Davidson      Tennessee
/         $500.00
          Tampering with             93 -D- 141 0         Criminal    Davidson      Tennessee
/         Evidence
          Theft of Property under    GS 186961        General         Davidson      Tennessee
/
          $500.00                    (conviction date Sessions
                                     9/23/1991)


                                                          Respectfully submitted,




                                                          Amy H.
                                                          Tenn. S J • Ct. Reg. #021865
                                                          Assistant District Attorney General
                                                          Washington Square, Suite 500
                                                          222 Second A venue North
                                                          Nashville, TN 37201 -1649
                                                          (615) 862-5500




                  Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 15 of 116 PageID #: 49i.J UU\.• ,c.I
                                CERTlFICATE OF SERVICE




                                                         I*
       I hereby certify that a true and exact copy of the foregoing has been mailed to Karl
                                                                      New'~
Pulley, P.O. Box 68352, Nashville, TN 37206 on this the --If=>- day of-September, 2007.




 Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 16 of 116 PageID #: 50
                                                                                          uuuu.:..3
                  lN TllE CRlMlNAL COURT f-OR DAVIDSON COUNTY, Tt:NNFSSEE
                                          DIVISION 1

    STATE OF TENNESSEE                          )                                                       1-.      I ., ~· ...
                                                                                          ~                        ·•('
                                                )                                     ~-            .         "i....~ t.    .J
                                                )
                                                                                          2007 NOV 16 PN 2: 47
    vs.                                         )    CASE NO: 2007-A-732
                                                )
                                                )
    FREDERICK E. BRAXTON                        )


                                    NOTICE OF ENHANCED PUNISHMENT


           The Office of the District Attorney General, prosecuting on behalf of tbe State of Tennessee,

    pursuant to Tennessee Code Annotated §40-35-202, gives notice that at the sentencing hearing it wilJ

    seek to'have the defendant sentenced to an enhanced punishment pur::;ua.nt to Tennessee Code Annotated

    §40-35-106, et seq. At the sentencing hearing, the State will show the following convictions:

     OFFENSE                    Date of      CASE             COURT           COUNTY       STATE
                                Conviction   NUMBER
     Felony Possession of a     1/8/2004     2003-C-2042      Criminal        Davidson     Tennessee
     Handgun                                                  Court
                                                              Division III
     Possession of Under .5g    8/26/2006    2005-B-1282      Ciiminal        Davidson     Telll1essec
/    of Cocaine for Resale                                    Court
                                                              Division ITT
     Voluntary Manslaughter     4/2/200 1    2000-C- 1394     Criminal        Davidson     Tennessee
                                                              Court
                                                              Division Til


                                                    Respectfully submitted,




                                                    Amy H. E. nb cck
                                                    Tenn. Su . t. Reg . #02 1865
                                                    Assistant · lri ct Attorney General
                                                    Washington Square, Suite 500
                                                    222 Second A venue North
                                                    Nashville, TN 37201-1649
                                                    (615) 862 -5 500



             Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 17 of 116 PageID #: 51
                                                                                                                           \ l ) :; ; ' .   ·'t
                                    CERTIFICATE OF SERVICE


       I hereby certify that a trlle and exact copy of the foregoing has been majled to David Hopkins,

306 Gay Street ste. 307, Nashville, TN 37201, on this the   may    ofNovember, 2007.




         Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 18 of 116 PageID #: 52                Ouuu·S
            fN TH E CRIMINAL COURT FOR DAVIDSON COUNTY, TENNESSEE                                      '      ,...... ,. '\
                                                                                                                         )     .



                                    DIVISION I                 ..                       •   ••   • '   t.<.:...J.., ,   ~'.... ,.,:




                                                                                2007 NOV 16 PH 2: 47

                                                                                .c:~=zt~/ ~r:;
STATE OF TENNESSEE                            )
                                              )
                                              )
vs.                                           )    CASE NO: 2007-A-732
                                              )
                                              )
LEONARD C. HARRJS
FREDERICK BRAXTON                             )



                   NOTICE OF INTENT TO USE PRIOR BAD ACTS
                PURSUANT TO TENNESSEE RULE OF EVIDENCE 404(b)

       The Office of the District Attorney General, prosecuting on behalf of the State of

Tennessee, hereby gives notice of its intent to present testimony regarding the following prior

bad acts and relevant information in support thereof in its case in chief:

       1.              The victim in this case is named James Williams. Williams spoke with an

                       associate of his who told him that Cardell Harris wrongfully kept the

                       associate' s money alter a drug deal. The associate mentioned to Williams

                       that people should not deal with Harris.

       2.              Williams then relayed this infonnation to Frederick Braxton' s brother

                       named Reginald, but who has a nick name of "RoRo" . An hour after

                       Williams relayed this infotmation to "RoRo" unknown males pulJed up in

                       an Expedition and began shooting at Williams.         Twenty five to thirty

                       rounds were fired, however Williams was not stricken.




 Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 19 of 116 PageID #: 53
    3.          The day before Father's Day, 2005, in an unrelated incident, "RoRo" was

                shot. Shortly after that shooting, an unknown person caused a fire to start

                on Williams' girlfriend's vehicle.

    4.          On July 3, 2005, a friend of Williams was having a birthday party at a club

                called Super D's on West Trinity Lane.       On that date, Williams saw

                Braxton and an unknown person sitting in a white car parked on Trinity

                Lane where the occupants of that car could see the cars coming in and out

                of the club. Williams saw Braxton on the passenger side of the car. The

                car Braxton was in tried to block Williams' car from leaving the parking

                Jot. Williams pulled off fi·om the location at a high rate of speed. Braxton

                and the unknown driver chased Williams at a high rate of speed until

                Williams' car wrecked at Stewart's Feny Pike. Williams' car was totaled.

                Williams called for a ride and members of his family came to pick him up

                and anived in two separate vehicles. Williams switched vehicles. The

                other vehicle (the one that Williams was not in) was shot sixteen times by

                an unknown person.       Williams' sister, two children, and his sister's

                boyfriend were in that vehicle. A bullet grazed Williams' son's leg.

    5.          On October 16, 2005 at approximately 10:00 p.m., Williams was driving

                down Gallatin Road and noticed that a white Ford Focus was following

                him. Williams made a couple of turns and sped up in an attempt to evade

                the Focus.    Eventually, Williams jumped out and hid in some hushes.

                Williams called his brother to come and pick him up, hut the Focus kept

                circling around Williams. Williams went to his brother's residence for a




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 20 of 116 PageID #: 54
                couple of hours. When Williams got home, he parked his car and saw

                Hanis jump from the breezeway and begin shooting at Williams.

                Williams was shot in the foot. Williams ran and hid under a truck in the

                parking lot He heard his attackers leave. There were a total of three

                individuals, including Hanis involved in this incident. Braxton was not

                present.



                                         Respectfully submitted,




                                                   1  en eck
                                                  p.    t Reg. #021865
                                         Assista 1t D · trict Attomey General
                                         Washing on Square, Suite 500
                                         222 Second A venue Nmih
                                         Nashville, TN 37201-1649
                                         (615) 862-5500




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 21 of 116 PageID #: 55          I                •"'I
                                                                                    \j ·~j ~;   L.i . 0
                               CERTIFICATE OF SERVICE


       I hereby certify that a true and exact copy of the foregoing has been mailed to David

Hopkins, 306 Gay Street, Ste. 307, Nashville, TN 37201, and Karl Pulley, P.O. Box 68352,
                                ~             t0o-V~
Nashville, TN 37206 on this the fl.__ day of September; 2007.




 Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 22 of 116 PageID #: 56
         IN THE CRIMINA L couRT FOR nAviusoN couNTY,                              TE~lJsEE D
                                                DIVISION I                       2007 NOV zI PH 3: 25
 STAT£ OF TRNNESSEE,                                   )
                                                       )
                                                                                 CAV10   c.   10M         ClERj\

 \'S.                                                  )       No. 2007-A-732'---Jl.!t-1--oc
                                                       )
  fi'Rf:DERl CK RRAXTO N.                              )

                                   MOTION TO CONTINUE TRIAL

            COMES NOW the Defendant. Frederick Bnnton, by and through c.:ounsd. and

  r~:spe<.:tl'ully   rnovc.s this Honorable Courllo c.:onlinue the trial in the ab(n:c-slyled   c~1se ,


. <md for cause would show unto this Court as follows:

            1.         The above-styl ed case is set ror trial on November 26. 2007.

            2.         On Novem ber 20. 2007. counsel for defendant received a Tennessee Rule

                      ·of Evidence 404(b) motion li·01n the slate, wherein the slHle is attempting

                       to introduce evidence li·om three separate incidents allegedly involving the

                       defendant or his co-defendant.

            3.         Counse l will not be prepared for trial on November 26.2007. or to

                       adequately prepare a response to the state's motion, bccausl' counsel will

                       not have lime to investigate the incidents listed   hcrL·innh~we.


            4.         Counsel for defendant \·vi ii be out of town on Non::mblT 23 and 24. and

                       possibly the 25. 2007. to ntt.cnd a funeral in another stale.

            5.         The co-defendant in this case. Leonard Harris. is represented by nttorncy

                       Karl Pulley, who not only does not oppose this motion, but is also seeking

                       a continuance in this case as wel L

            WIIEREFORE, the Defendant, Frederick Braxton. respectfully moves this

  llonorable Court to cont inue the trial in this case t(.x the above li sted reasons.


Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 23 of 116 PageID #: 57
                                                       David M. I opkins. 1 tto rncy at Law
                                                       Sup. C l. No. 201 34
                                                       306 Gay St.. Suite 307
                                                       Nashville. Tennessee 37201
                                                       (615) 356-4500
                                                       Attorney lor Frcd cl"icl" Braxton

                               CERTIFICATE OF SERVIC E
         I hereby certify that on this the 21 ~L day of No\ ember. 2007. a true nnd exact copy
 ol'thc previous Motion has been hand delivered. via tl '        idson County Clerk's Office,
 io the Office of the District Attorney, 222 Second venue N H. h. Suite 50(), ashville.
 Tennessee. 37201 .




Case 3:20-cv-00251 Document 9-1 Filed2 06/08/20 Page 24 of 116 PageID #: 58
                                                                                                    r- r-._,
                                                                                       _ ..... " I!
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                                                                                      ,t.... , , ~ t..,.,
                                                                                        · l ~..,.. •••• / I
                     IN THE CRIMNAL COURT FOR DAVIDSON COUNTY, TENNESSEE
                                                 DIVISION I                       2001 NOV 2 I PH 3: 38
STATE OF TENNESSEE                        }
                                          )
vs.                                       ) CASE NO. 2007-A-732
                                          )
LEONARD C. HARRIS                         )
                                          )

                                             NOTICE OF ALIBI

       Comes now the Defendant, by and through his counsel and respectfully gives the State of
Tennessee notice of his intent to introduce alibi testimony at trial. In support of the Notice the
Defendant states the following:

        1.    That on the date and time the alleged offense occurred, the Defendant was located at his
             re sidence. The address is 102 lindsey Avenue, Goodlettsville, Tennessee 37072.
        2.   The witnesses the defense intends to call at trial to establish said alibi are Pamela J. Harris
             (615) 578-4818. The address is the same as above. The second witness the defense intends
             to call at trial is Willie B. Sweat (615) 739-2160. The address is the same as above.
        3.   That lamont E. Harris (615) 522-6979 is an additional witness the defense intends to call in
             its case in chief. His address is 1500 Porter Road, Nashville, Tennessee 37206.




       Pulley BPR#12761
Attor. ey for the Defendant
P.O. Box 68352
Nashville, TN 37206
(615) 474-7826

                                         CERTIFICATE OF SERVICE

        I hereby certify that a t rue and exact copy of the foregoing Notice was hand delivered to Amy
            Assistant District Attorney General on this the 21 51 day of November 2007 .




                                                ----

Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 25 of 116 PageID #: 59                               ')
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                                                                                                                                  i)
                                                                                                                             I 4 J..~
                  IN TIIE CRIMINAL COURT OF DAVIDSON COUNTY, TENNESSEE, DIVISION I
                  MINUTES, NOVEMBER 26, 2007


                  STATE OF TENNESSEE

                  vs.                  CASE NO. 2007-A-732

                  FREDERICK EDWARD BRAXTON

                  CAME TH E ATTORNEY GEN ERAL WHO PROSECUTES FOR THE STATE AND THE
2007-A-732        DEFENDANT IN P ERSON, BEING REPRESENTED BY COUNSEL.

lJEFF.NSE         lHEREUPON, THLS CAUSE CAME ON TO BE HEARD BY lHE COURT UPON DEFENSE
MOTION TO
                  MOTION TO CONTINUE JURY TRIAL~ AFTER DUE CONSIDERATION AND ALL THE
CONTINUE
JURY TRlAJ. TS    EVIDENCE lNTRODUCED, SAID MOTION IS GRANTED AND THIS CAUSE IS
GRANTED           CONTINUED UNTlL APRJL 14, 2008 AT 9:00AM.

                  DAVID HOPKINS , ATTORNEY FOR DEFENDANT

                  AMY EISENBECK , ASSISTANT DISTRI CT ATTORNEY




                  ORDERED 1HAT COURT STAND ADJOURNED UNTIL IN 1HE MORNING AT NJNE
                  O'CLOCK.


                                          STEVE DOZI ER, nJDGE




             Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 26 of 116 PageID #: 60
                                                                                     ,,.. ;. '':_,'... J
                                                                                          '
                                                                                                      ~
                                                                                       I        ~-     s
                                                                ~                          \    b
            IN Til F. C RIMINAL COURT FOR DAVIDSON COUNTY, T~
                                                            N\<;S~                                                .   '


 ST ATF. OnlCNNESSEE,                              DI;ISION I                              ~'' ~                  \' \

 V.                                                   )          CASE NO. 2007-A-732
                                                                                           '~ \~
                                                                                              g      -;r.
                                                                                                            '?
                                                      )
 FREDERICK Bl{AXTON.                                  )

                                         NOTICE OF ALlBI

        Comes          nOv\   the defendant. Frederick Bmxton, by and through counseL and
 pursuant      to   Tennessee Rule of Criminal Procedure 12.1 (/\) and (C) and submits this
 Notice of Alibi in count one ofthc indictment in the above-styled case:
        1.             The defendant was at the residence of Derrica Christman,' 134 N.                     ?'h
                       Street. Nashville, Tennessee.      Oil   February 15. 2006, at arproximatcly
                       5:00 p.m .. at lhe time of the:: alleged shooting in the above-styled case.
                       Ms. Christrnan's current address is 2719A Jones /\venue, Nashville.
                       Tennessee. J 7207.
        2.             1-'Ltrthcr, Jahmt:ela Christman, the daughter of Derrica Christman \-vas
                       also presen t and resided with Dcrrica Ch1istman at the af<>rcmcntioned
                       ndclrcss at the time ofthe alleged shoot ing .
        .J.            Abo present with the       del~ndant     at lhc time   or alleged       shooting \Vas
                        Pamela Owens and .l a.sminc: Buford. who now reside at I 362 14l1'
                       Avenue South. Nashville. T<.:nncssee .
        .:1.           Ocwviow; Sawyers. who          110\\     reside~ at 11]9 I ih Avenue South.
                        Nash\'ille. Tennessee. was a neighbor of Ucrrica and Jahmccla
                        Christrnan at the time   or the alleged shooting and was "-'ith defendant at
                        the time ofthc alleged shcH>ting.




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 27 of 116 PageID #: 61
                                                      Respectfully submitted,



                                                    (/)JtcopKi~'s'-?.fp~;;:>.-
                                                      306 Gay St., Suite 307
                                                      Nashvi lle, TN 3720 I
                                                      (615) 356-4500
                                                      Attorney for frederick Braxton


                              CERTIFICATE O'fi' SERVICE
         l hereby certify that a true and exact copy of the foregoing Not ice has been hand-
 delivered to Amy Eiscnbcck, Assistant District Attorney, Washington quare. Suite 500,
                                                                      111
 222 Second Ave. North, Nashville, TN 3720 1-1649, on this the 26 day oCN<)\'ember
 2007.




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 28 of 116 PageID #: 62
          IN TllE CRIMINAL COURT FOR DAVIDSON COUNTY~ TENNESSEE
                                            .DIVISION I                          It   ~   ~
                                                                                      0
 STATE OF TF,NNESSEE,                          )                                          ~
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                                               )                                          N
                                                                                          0'\
 v.                                            )
                                               )
 FI~EDERICK      BRAXTON.                      )

                             MOTION IN LIMINE NO. ONE
      (MOTION TO EXCLUDE EVIDENCE NOT t>ROVIOED IN DISCOVERY)

        C:om~s   now the defendant. Frederick Braxton, by and through counseL and
 rcspectfnlly moves this Honorable Court, pursuant to Tennessee Rule of Criminal
 Procedure 16(a) and (d). to exclude any evidence. documentary proof and/or witnesses
 tha.t should have been disclosed pursuant t<> the defendant's request for discovery and
 which has not been disclosed to defendant prior to trial.
                                                       Respectfully submitted.




                                                        uvid M. Hop.kins. B J
                                                       306 Gay St.. Suite 307
                                                       Nashville. TN 37201
                                                       (615) :>56-4500
                                                       Attorney J(>r Frederick Braxton


                              CERTIFICATI•: OF SERVICE
         I hereby ccrti fy that a true and exact copy of the foregoing motion has been band-
 delivered to Amy Eisenheck. Assistant District Attorney. Washington Square. Suite 500,
 222 Second/\ vr;;. Norlh, Nashville, TN 37201-1649. on this tht! 26111 day ol'November.
 2007.




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 29 of 116 PageID #: 63
             I N TH E CRIM I NAL CO URT FOR DAVIDSON CO UNT Y, T ~NNESSEE
                                        DIVI SJON I                Cl ~
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 STATF. O F TIC: NN I~SSEE,                       )                                         0    ~      ..,..,-
                                                  )                                               N
 v.                                               )
                                                  )
                                                           CASE NO. 200 7-A- 7
                                                                                                  0"
                                                                                                           r;·,
 FREDE RICK BRAXTON.                              )
                                                                                                           c~

                               MOTJON IN LIMIN E NO.T W O
                                  ("JENCKS" MOT I O N)

            Comes now lht:; de1(;ndanJ, frederi ck Braxton, by and through counsel. and
 respectfully moves this Honorable Cou11 to requi re the Stale to provide those witness
 statcmer~ts   which tht:; State is required to prov ide under T.C.A.       ~    40-7-1 20 out of th e
  presence· of the jury so as to c.omp011 with the Due Process Clause of the 14t.h
 Amendment to the Unileu Stales Constitution. s·ee generally, United St3tes \'. Gurdin,
  382 r.2d 601 (2nd Cir. 1967); United States     V.   Curn. 512 f. 2d 1299, 1302-1303l4th Cir.
  1975 ).    Furthermore. I he defendant moves to he allowed su11icienl. time to read the
  statements out of the presence   or the jury. as due process requ ires.       S'ee generalzv, l lnitcd
  States,.. I limon. ()13 f .2d 769 (D.C. Cir. ]l)gO).

                                                            Respectfu lly submitted .




                                                            Attorney li.n Frederick B raxton



                                  CERT IF I CAT E OF SERVI CE
          I hereby ccrti fy that a true and ex(IC\ copy of the forcgoi ng rnotion has been hand-
  delivered to Amy Eiscnbcck, Assistant District Attorney. Washington Square, Suite 5
                                                                          11
  222 Second t\vc. 1'\orth. ""lashvi\le, TN 37201-1649. on this the 26 ' day ofNovcJ
  2007.                                                   ~       j
                                                          Vf!ltf1_1,l.~.I-7'V~._/-
Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 30 of 116 PageID #: 64
                                                                                                        •; i'      ':I
                                                                                                        u u       t.. ' 1;   r 1
          IN TilE CRIMINAL COURT FOR DAVIDSON COUNTY, TEN NF~ EE _ ·~
                                 DIVISION l          , ~ ~ ~- ~. '~
                                                                                \     (;)       ~           ......
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 STATE OF TENNESSEE,                            )                                      0        ~      f"'"'
                                                )                                               ($'       .,~'\
 v.                                                                                                       \     \ ~
                                                ~       CASE NO. 2007-A-73                  ~   ~           •
                                                                                                            0
 f'RF.DERICK BRAXTON.
                                                )                                     ~~ ~
                          MOTI.ON IN LIMINE NO. Til REF:
                           (F:XCLUSION OF WITNESSES}

        c:orncs now the defendant, Frederick Braxton, by and through counsel, and moves
 this llonorable Court to exclude all   witncss~s   including rebuttal   vvitness~s   prior to voir
 dire. The defendant further moves this Court to ORI)f:R all persons not to disclose by
 any means lo excluded   wiln~sses   any prior lestimony or exhibits crealed in the courtroom
 by a prior witness. This motion is   mad~   pursuunl to Ruk (i l5   or the Tenn~ssee Ruks or
 [\·idence.
                                                        Respectfully suhmilled,




                                                      u           Hopkins, llP
                                                        306 Gay SL Suite 307
                                                        Nashville. TN 37201
                                                        (615) 356-4500
                                                        i\ttorncy for Frederick Braxton


                               CI:!:RTlFICATE OF SERVICE
         I hereby certify that a true and exact copy of the foregoing motion has been hand-
 delivered to Amy Eisenhcck, Assistant District Attorney. Washington Square, Suite 500.
                                                                      11
 222 Second /\ve. North. Nashville. TN 37201-IM'), on this tht: 2() ' day of'Novtmber,
 2007.




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 31 of 116 PageID #: 65
                                                                                             ~
                                                                             I     ~         ~    ,. - · •~
          IN THE C IH M l NAL C O URT F OR DAVIDSON CO UNTY, ~E~ES§E ...~'"~.
                                                               · ·~ ~
                                      .DI VISION I                . N 1• .,. .....


                                                                                  :\   ~     a"      ~rn
 STATE OF TENNf:SS I•: li:,                       )                                    7!.   ~        •

                                                                        2007-A-732:1 ~ 'CJ
                                                   )
 v.                                                )        CASE NO.
                                                   )
 FR EDE R IC K BRAXTON.                            )

                     MOTION I N LIMINE NO. FO UR
      (MOTION TO PROHIBIT JlVlPEACHMENT OF T HE DEFENDANT \VJTII
                         PAST C ONVICTIONS)

         Comes now the dei'endant, 1- rederick f3ra xton. by and through counsel, pursuant
 to f'ennesscc Ru le      or Evidence 609 and respectfully moves this Honorable Court to
  PRO III I:HT the State from questioning. for impeac hmC:! nl purposes, Mr. Braxton
  regarding any convic tions that may be on his record. ~0:'\IP of the convictions that are
  on Mr. nraxton 's record should be used against him fo r im peachment purposes. The
 convictions \Yhich are not grounds for irnrcacbmenl, and the reason(s) vvhy not follow :
         Group A: Conv ictions for misllemcanors that arc not ni mes of dishonesty
         (v iolating T RE 609(a)):
         2003 -C-2042             Reck less Dri,· ing                            03/29/2006
         SC6558J~                 Trespass                                       09/16/2005
         SC409848                 Suspende d Driver' s Lice nse                  03/ ll /2005
         SC622942                 Suspended Driver's License                     0211 Bnoos
         SC6 ! 87 10              S uspe1H.i cd Driver' s License                02/1 812005
         SC481713                 Suspended     Driv~r·s   License               05/04/2004
         S < ~ 46249 i\           Sus pended Driver's L ice nse                  ll /20/2003
         N5092.)6                 'J.rcspass                                     11/03/J 999
         N803 117                 T respass                                      05/24/ 1999
         N47l460                  Simple Possession ol'Mmijuana                  0~119/ 1998

         SC279969                 ·r ·rcspass                                    06/17!1998
         SC213274                 Driving on Revoked Li cense                    12/01/1 t'J97
         01431257                 Possession of Gambli ng      D~vicc            l 2/0 I/1997




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 32 of 116 PageID #: 66                                ' .
                                                                                                          UUUU.- .. j
          Group B:          Convictions that are felonies, within ten-ycat·s, but whose
          prejudicial value outweighs any probative impeachment value and would
          lead to conclusions regarding the defendants PROPENSITY for criminal
          ~lctivity   (violating TIU: 403 and 404):
          2005-B-12R2              Poss<=ssion Sch. II for Resale                  0 R/2 4/2 00 6
          2003-C-2042              Fdon in Possession of llandgun                  03/29/2006
          :2000-C-1 394            Voluntary Manslaughter                          04/02/2001


          IF. this Honorable Courl believed that those convictions in Group B should be
 admitted as impeachment: then the       dct~ndant   would humhly MOVE that the exact nature
 or the convictions be witl1hcld from the jury, and that the ddendant be asked simply.
 ''You have been convicted of a fdony.         ce~rrying   a penally of greater than one-year in
 pnson.       Further. the defend<:mt would MOVE lhal the jury be IMMU)IATFLY
 instructed that th<= issue of tht! deJendant's past convictions arc only    to   be considered in
 determining his truthfulness and that this evidence is not to be consider<=d prool' of his
 gu i It on the present charges.




                                                              avid M. Hopkins.
                                                            306 Gay St., Suite 307
                                                            Nashville, TN 37201
                                                            (615) 156-4500
                                                            /\ttorney for frederick Graxton

                               CERTIFICATE OF SERVICE
         I hereby certify that a true and exact copy of the Jor<=going motion has been hand-
 delivered to Amy Eiscnbeck, J\ssist<:ml Districtl\norney, Washington Square, Suite 500,
                                                                       11
 222 Second /\ve. North, Nashville. TN 37201-1649, on this the 26 ' day oi'Novcm b
 2007.




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 33 of 116 PageID #: 67
           IN THE CRIMINAL COURT FOR DAVIDSON COUNTY, TENNESSEE
                                 DIVISION I                 ~
                                                                                    ,,   ~    9
 STATl•: OF TENNESS F:f,,                         )                                      0    ~
                                                                                         0    ...c::
                                                  )                                           N        rtJ";.":D
 v.                                               )       CASE NO. 2007-A-73                  ~        •
                                                                                                       rr~

 f.R EDF.RICK      llRAXTON~OTIO~ Ll~JNfi: IN             NO. FIVE                       ~~ ~ C'J
            (MOTION TO STRIKE DEFENDANT'S ALJAS I!'ROM JNDlCl\viliNT)

         Comes nOv\· the defendant, Frederick Braxton, by and 1l1rough counseL and
 respectfully mo,·es this ll onorabk Court to strike an} mention or an alias or "a.k.a." ii·om
 the indictmen t read to and presented to the jury in this case. and      Lo   caution any w.itness
 from mentioning to     th~jury   any prior use of an alias by Mr. 13raxton. Any mention of an
 alias would be irrelevant pursuant to Tennessee Rule of Evidence 401 and would
 constitute inadmiss ible chan.tcter and/or propensit y e,·idcncc pursuanl to Tennessee Rule
 of 1-:vidcnc<:: 404.




                                                            <   1c 1. I lopkins. B
                                                                     1

                                                          30(i Gay St.. Suit ~ 307
                                                          Nashv ille, TN 37201
                                                          (ol5) .)S6-4500
                                                          Attorney ror Prccl crick 13raxton

                                  CERTIFICATE Of SERV ICE
           I here b) cct1i'l)' 1hat a true and exact copy of the forego ing moti on has been hand -
 clcli vcred to ;\my Fisen beck. Assi stant District i\tlorney, Washington Square, Suite 500.
 222 Second Ave. North. Nashville. 1'1\: 37201-1649. on this the 26111 da) o fNovember.
 2007.




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 34 of 116 PageID #: 68                                 If      •   ,      1
                                                                                                           '-; ~... v L~ '-j }._
                 IN THE CRIMINAL COURT O F DAVIDSON COUNTY, TENNESSEE, DIVISION I
                 :MINUTES, JANUARY 22, 2008


                  STATE OF TENNESSEE

                 VS.                   CASE NO. 2007-A-732

                  FREDERI CK EDWARD BRAXTON

                  CAME THE ATTORNEY GENERAL WHO PROSECUTES FOR 'niE STATE AND THE
2007-A-732        DEFENDANT IN PERSON, BEING REPRESENTED BY COUNSEL.

404(13) MOTION    THEREUPON, 1H1S CAUSE CAME ON TO BE HEARD BY 1HE COURT UPON A 404(8 )
lSSmTCKLN         MOTION; AFTER DUE CONSIDERATION AND ALL THE EVJDENCE INTRODUCED,
                  SAID MOTION IS STRICKEN.

                  DAVID HOPKINS , ATTORNEY FOR DEFENDANT

                  AMY EISENBECK , ASSISTANT DISTRICT ATTORNEY




                  ORDERED lliAT COURT STAND ADJOURNED UNTIL IN THE MORNING AT NINE
                  O'CLOCK.


                                          STEVE DOZIER, JUDGE




             Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 35 of 116 PageID #: 69
                                                                                          t   •
       IN THE CRIMINAL COURT \i'OR DAVIDSON COUNTY, '
                              OlVJSION I
                                                                               2fifi6 fEB -6 Pt1 '2: 5i
 STATl~ OF TENNESSEE,                              )
                                                                                 ,. ,..,..... ,.,
                                                                                 \.);'\1.·:'.1 _,.
                                                                                                      •".:-,,;.,H-:Cl
                                                                                                     ·•
                                                                                                      1v   ,, ..,..     CLt~
                                                   )
 vs.                                               )       No. 2007-A-732           -· ~----DC
                                                   )
 FREDIUUCK BRAXTON.                                )

                       Sl~COND      MOTION TO CONTINUE TRIAL

         COMES NOW the Defendant, Fa·cdcl"ick nraxlon, hy and through counsel, ami

 respectfully moves this Honorable Court to continue the trial in the above-styled case.

 and for cause wou ld show unto th is Court <lS l'ollows:

         1.      The above-styled case is set for triul on April 14, 200X. It was previously

                 set for trial on November 2(), 2007, and was continued from that date to

                 the current trial date.

         2.      Counsel has another case set lo r trial on Apri I 14. 2008. wherein the

                 de1i::ndanl is incarcerated and is charged wi th seco nd degree nlllnler.

                 (State v. Charles Neeley. 20 06- D-3380, Division Tv.,;o Criminal Court).

         J.      Counse l for defendant will be unable to try both cases s imultaneously. and

                 therefore rcqncsts that this matter be reset to another trinl date. Both

                 defendant and co-defendant in !his ca~c are on bond.

         4.      T he co -defendant in thi s case. l.eonard I larris. is re pn::sented by atto nlL~Y

                 Karl Pulley, who docs not oppose this rnotion.

         WHEREfORE, counsel for the Dell::nclant, Frederick Braxton. respectfully rnovcs

 th is llonorahle Court to continue the trial in thi s case ror the above..: listed reasons.




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 36 of 116 PageID #: 70
                                                         vid M. Hopkins. 1\.t
                                                      Sup. Ct. No. 20134
                                                      306 Gay St., Suite 307
                                                      Nashville, Tennessee 3720 1
                                                      (615) 356-4500
                                                      Attorney for Frederick Bnnton




                                CERTIFI CATE OF, SERVICE
                                             111
          I hereby certify that on this the 6 day of February, 2008, a true and exact copy or
 the pre vious Motion has been hand de livered, via the Davidson County Clerk's Oni c<.:
 the Onlce of the District Attorney, 222 Second Avenu' orll . Suite 500, Nashvill · ,
 Tennessee, 3 7201.




Case 3:20-cv-00251 Document 9-1 Filed206/08/20 Page 37 of 116 PageID #: 71                             '           .
                                                                                                ~: ~j .j ~ ~   ,j lt
                  IN 1HE CR lMJNAL COURT OF DAVIDSON COUNTY, TENNESSEE, DfVISION I
                  MINUTES, MARCH 27, 2008


                  STATE OF TENNESSEE

                  VS.                  CAS E NO. 2007- A-732

                  FREDERICK EDWARD BRAXTON

                  CAME 1HE AITORNEY GEN ERAL WHO PROSECUTES FOR TIIE STATE AND 1HE
2007-A-732        DEFENDANT IN PERSON, BEING REPRESENTED BY COUNSEL.

SF.COND           THEREUPON, THIS CAUSE CAME ON TO BE HEARD BY THE COURT UPON A SECOND
MOTION TO
CONTINlJlj
                  MOTION TO CONTfNUE JURY TRIAL; AFTER DUE CONSIDERATTON AND ALL THE
JURY TRIAL TS     EVIDENCE INTRODUCED, SAID MOTION IS GRANTED.
GRANTEU
                  THEREUPON, THIS CAUSE TS CONTINUED UNTIL AUGUST 18,2008 AT 9:00AM JURY
                  TRIA L.

                  DAVID HOPKINS , ATIORNEY FOR DEFENDANT

                  AMY EISENBECK , ASSISTANT DISTRICT ATTORNEY




                  ORDERE D TIIAT COURT STAND ADJOURNED UNTIL IN THE MORNIN G AT NINE
                  O'CLOCK


                                          STEVE DOZIER, JUDGE




             Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 38 of 116 PageID #: 72
                                                                                                    If"''       ~. -~·     ; -· f.' ·.
                                                                                                     · - . ~~~<     •      i1r "'~ •: '·-
       lN THE CRIMINAL COURT I<'OR DAVIDSON                                                         ~
                                                                                  NTY, TENN E SE)Ee:s,..                   -~··     · --·
                              DIVISION I
                                                                                               2008 AUG IS PM 2: 20
 STATE Of' TENNESSIO~ ,                                                                        0~~·.J:_
                                                                                                 '.1/T)   ,-.
                                                                                                          ·-·    iP!fYJ
                                                                                                                  •· ' 1 - · ••-.·: :'' - •)l'
                                                                                                                               - L- ·...·~tJ,f\



 vs.                                                                  No.   20(17 ~ A-732
                                                                                               • -·- -- · ..                            __ DC

 Ji'I{EDEH.IC K BRAXTON.

               NOTICE OF CONFLI CT AND MOTION TO BE IU:LJEVF.D

          CO MES NOW the undersig nc..!d counse l fo r the Defendant, Fred erick Braxto n ,

 :llld gives not ice of a conilicl of' interest in his continued representation of the Defendant,

 and   rcspL~ ctfully   moves this Honorab le Court to a llow hi m                10   withdraw li·om l'urthcr

 representat ion of the Defendant. and would show unto the Co urt as fol lows:

          I.       The above-styled case is set fo r trial o n August 18, 2008 .

          1        This case was previously set for tri al on two prior occasions.

          J.       rn preparat ion for rrjaJ..   (\-..u n s~l f(H~   defe ndant aga in researched the

                   background of the a lleged vidi m in t his CE!SC. .l arncs J-layward WiJiiarns.

                   :mel on August 15, 2008. discovered tha t he represented Mr. Willi ams on

                   f'v1arch II.J. :W08. on a community corrections violation that stemmed from

                   a felony wea pon convict ion.

          4.       The felo ny weapon conv iction. in addition to be ing an impeachable

                   oflensc, wou ld also be a t~tct Mr. Bra:-.:ton would potenti ally ask Mr.

                   vVilliams about in cross-examination. as well as the fact he was reinstated

                   to commtmity corrections.

          5.       C ont i m1 ~d   rep resenta tion of Mr. Brax ton wou ld requ ire counsel to cross-

                   exnrni nc a fo rmer cli ent about convict ions on which C'ounscl represented

                   him. and thereJ'orc c rcatl:'s an un-n.:so lva ble confli ct of in te rest. Counsel


Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 39 of 116 PageID #: 73                                                        ! • - ' ' : ' ; ·{
                                                                                                                                  \.i   ~} ~   J   '   '   v .
                                                                                                                                                                 ).
                 has consulted with the Board of Professional Responsibility, and was

                ·advised to withdraw fro m continued reprcscntCJtion of the Defendant.

         WHEREFORE. counsel for the Dcfcnd<ml, respectfully moves thi s Honorable

  Court to re lieve him from further reprcsc nlution of the Defendant for the above listed

  reasons.




                                                          Dn' 1d M. llopkin-. 1\llorncy CJt Law
                                                         Sup. Ct. No. 20134
                                                         306 Gay St .. Suite 307
                                                         Nashville, Tennessee 3720 1
                                                         (615) 356-4500
                                                         Attorney fo r Fredcricl< Braxton

                                CRRTIFJCATE OF SF.RVICE
          I hcrchy certify that on this the l.S~day of A ugus t. 20Q_8_, a true and exact copy of
  the previous Motion has been band delivered. vi a the Davidson County Clerk's Office, to
  the OrJiec of the District Attorney. 222 Second /\venue         rth. Suite 500, Nashvill e
  Tennessee, 37201.




                                                                          ,-. . , .·... , r·
Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 40 of 116 PageID #: 74u u 1.; \i J
                    lN THE CRIMINAL COURT OF DAVIDSON COUNTY, TENN ESSEE, DIVISION I
                    MINUTES, AUGUST 18,2008


                    STATE OF TENNESSEE

                    vs.                  CAS E NO. 2007-A-732

                    FREDERICK EDWARD BRAXTON

                    CANlE THE ATTORNEY GENERAL WHO PROSECUTES FOR TilE STATE AND THE
2007-A-732          DEFENDANT IN PERSON, BEING REPRESENTED BY COUNSEL.

MOTION 10 .1::3F.   THEREUPON, TillS CAUSE CAME ON TO BE HEARD BY TilE COURT UPON MOTlON
RET .IF.VED iS
                    TO RELI EVE DAVID HOPKINS AS ATIORNEY ; AFTER DUE CONSIDERATION AND
GRANTEl)
                    ALL THE EVIDENCE INTRODUCED, SAID MOTION lS GRANTED AND THIS CAUSE IS
                    CONTINUED UNTIL OCTOBER J 3, 2008 AT 9:00 AM. FOR J URY TRIAL.

                    LEE SPROUSE, ATTORNEY FOR DEFENDANT

                    J. WESLEY KING , ASSISTANT DISTRICT ATTORNEY




                    ORDERED THAT COURT STAND ADJOURNED UNTIL IN TilE MORNING AT NIN E
                    O'CLOCK.


                                            STEVE DOZIER, RJDGE




             Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 41 of 116 PageID #: 75
                                                                                          ~J t j   t" '} \ j ,j
                                                                                                   . '•




      IN THE CRIMIN AL C OURT .FOR DAVIDSON CO
                               DIVlSION I

STATE OF TENNESSEE

v.                                                                      2007-A-732


FREDERICK BRAXTON

                              MOTION TO SEV ER COUNTS

        Comes now the defendant, Frederick Braxton, by and through counsel, Lee

Sprouse, pursuant to Tenn. R . Crim. P. 14(b), and respectfully requests this Honorable

Court Sever Cotmt One from Count Two of the indictment in the above styled case. In

support of sa]d Motion, Mr. Braxlon would offer the following:

        On February 15, 2006, James Williams was shot a number of times. He named

 Mr. Braxton as one of the shooters. Tn a totaJly unrelated incident, Mr. Braxlon was

 arrested by officers serving an arrest warrant for a probation violation. A search incident

 to the anest of Mr . Braxton revealed 2.6 grams of marijuana on his person. The two

 offenses arc charged in the same indictment.

        The defendant is entjt}cd to severance because the various offenses are not part of

 a common scheme or plan and because the evidence of the offenses contained in Count I

 of the indictment would not be admissible in a trial for Court 2, illld vice versa. ln State v.

 Hallock, 875 S.W.2d 2X5 (Tenn. Cr. App. 1993), the Court indicated that under Tenn. R.

 Crim. P. 14(h), a defendant has an absolute right to a severance tmlcss the Court tlnds

 that: (1) the offenses are part of a common scheme or plan and (2) the evidence of one

 would be admissible at the trial ofthe other.




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 42 of 116 PageID #: 76
               The Tennessee Supreme Court, in State v. Moore, 6 S.W.3d 235,241 {Tenn.

1999) citing State v. Peacock, 638 S. W.2d 837 (Tenn. Crim. App. 1982), addressed this

issue succinctly stating:

               In order for offenses to be "part of a common scheme or plan," the offenses must be so
               similar in modus operandi and occur within .such a relatively close proximity of time and
               location to each other that there can be little doubt that the offenses were committed by
               the same person. "The mere fact that a defendant has committed a series of armed
               robberies, or a series of rapes, or a sc1ies of other crimes does not mean that they are pari
               of a common scheme or plan although the offenses may be of the 'same or similar
               character."'

 In the present case, the State has joined a First Degree Attempted Homicide and a simple

possession of marijuana that occurred a month later. These offenses are not similar.

 They are not part of a common plan or scheme, the evidence of one crime is not relevant

 and therefore inadmissible to the other., and therefore should be severed.



                                                         ~ySubmi


                                                         LEE SPROUSE, No. 025082
                                                         Attorney for Defendant
                                                         1308 Rosa L. Parks Boulevard
                                                         Nashvi lle, Te1messcc 37208
                                                         (615) 254-0202



                                        CERTIFICATE OF SERVLCE

               I herchy certify that a true and exact copy of the foregoing Motjon to Suppress

 Evidence has been provided to the Honorable J. Wesley King, Assistant District

 Attomey, 222 Second Avenue North, Suite 5000, Nashville, Tennessee 37201 on this the

 '2. ...c;-(   day of ~t, 2008.
                    ~<f._.~....

                                                         LEE SPROUSE


Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 43 of 116 PageID #: 77
                                                                                                           -
                    IN THE CRIMINAL COURT FOR DAVIDSON COUNTY, TENNESSE'E '
                                           DIVISION I
                                                                                  Z0u3 OCT - 3 p;~ ?: SS
STATE OF TENNESSEE                                                                [ ·. - ..


vs.                                                       CASE NO. 2007·A-732

lEONARD C. HARRIS

                                                                                    UCE THE PRIOR CRIMINAl


       Comes now the Defendant, by and through his counsel, and respectfully gives the State of
Tennessee notice of his intent to introduce the prior Convictions or Prior Bad Acts of the referenced Co-
Defendant. In support of the Motion the Defendant states the following:

        1. Domestic Assault : GS-183862
        2. Reckless Endangerment (Felony): GS-190221
        3. Alteration of Item's Distinguishing Numbers: GS-190222
        4. Unlawful Possession Of A Weapon
        5. Weapon- comm ission of Offense While Wearing a Body Vest: 190226
        6. Unlawful Possession of A Weapon : GS-261456
        7. Tampering With Evidence: GS-262454
        8. Incident Number 06-149647 /Broderick E. Jones Reporting Officer

       This Notice is given pursuant Tennessee Rules of Evidence 609 and 405 for impeachment
purposes and in order to adequately defend Mr. Harris.

                                         CERTIFCATE Of SERVICE

        I hereby certify that a true and exact copy of the foregoing Motion/Notice was delivered to J.
Wesley King Ill Assistant District Attorney General on this   3rd   day of October 2008 and Lee Sprouse,




  Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 44 of 116 PageID #: 78
COMPLAINT NUMBEr                  2004-414416               WARRANT NUMBER : GS18 3"'·'2

PROSECUTOR: Tarnasoa Juanita Patton
DEFENDANT: James L Williams
VICTIM: Tamasoa Juanita Patton


                             STATE OF TENNESSEE, COUNTY OF DAVIDSON
                                            AFFIDAVIT
                                             DOMESTIC ASSAULT
                                                T.C.A. 39-13-111


Personally appeared before me, the undersigned (Select one) _ X Corrunissioner _             Metropolitan

General Sessions Judge, the prosecutor named above and made oath in due form of law that

(Select one} _         he _ X__ she (Select one] __X_ personall y observed _has probable cause to

belie ve that the defendant named above on 08/1212004 in Davidson County, did unlawfully (Select

one) __X_ intentionally, knowingly, or recklessly cause bodily injury to the victim, a family or

household member, named above OR _                intentionally or knowingly cause the victim, a family or

household member, named above to reasonably fear imminent bodily injury; OR ___ intentionally or

knowingly cause physical contact with the victim, a family or household member, named above and a

reasonable person would regard the contact as extremely offensi ve or provocative and the probable

CBuse is as follows: On the above date at 703 North 9th St. in Nashville Davidson County

Tennessee James Williams assaulted me. I asked James to get out of my car repeatedly and he

finally did. He started hitting me in the face causing my left eye to bruise, chipping a tooth also.

He pulled some of my hair out, ripped my clothes and scratched my chest.




Prosecutor: Tamasoa Juanila Patton
                2 103 Ridgecrest Dr.


                Nashville, Tennessee 37216
                 6 15 226-5506


Sworn to and subscribed before me on O!l/lS/2004 10:06: 57


Howard Taradash
Judge of the Metropolitan General Sessions Court/Conunissioner



              Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 45 of 116 PageID #: 79I j (j ·- ; I               .-,    I
                                                                                                       \.)   l.J (.' ;_   ~~

Page I of l
COMPLAfNT NUMBF'' · 2004-512841                      WARRANT NUMBER: GS 19WVlJ

PROSECUTOR: Marcus D Ryherd
DEFENDANT: James H Williams JR
VICTIM:


                         STATE OF TENNESSEE, COUNTY OF DAVIDSON
                                        AFFIDAVIT
                           RECKLESS ENDANGERMENT (FELONY)
                                      T.C.A. 39-13-.103

Personally appeared before me, the undersigned (Select oneJ _ x_ . Commissioner _ Metropolitan
General Sessions Judge, the prosecutor named above and made oath in due fonn of law that
!Select one} _x... he _     she [Select one) _      persona1Jy observed _ _x_ has probable cause to
believe that the defendant named above on 10/06/2004 in Davidson County did unlawfully and
recklessly engage in conduct, whjch placed or may have placed the victim named above, in imminent
danger of death or serious bodily injury and the defendant named above committed the offense with a
deadly weapon. The probable cau.~e is as follows:

       Defendant was observed placing two objects down next to a bush near 107 North 6th Street.
The two objects were retrieved by police. One was a Glock 19 9nun. The other a Charter Anns .38
revolver. Both guns w~e loaded. l 07 North 6th Street is located in Parkway Terrace. Parkway
Terrace is apartments ran by MDHA. Tbe apartments are multi-family arpartments.




Prosecutor: Marcus D Ryberd 0000008939
             200 James Robertson Parkway
             Nash ville, Tennessee 3 720 l



Swom to and subscribed before me on 10107/2004 0 1:41:42


Steve Holzapfel
Judge of the Metropolitan General Sessions Court/Commissioner




         Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 46 of 116 PageID #: 80
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                                                                                               '-·'   J   '-I \ '       ~'
Pagel of l
COMPLAINT NUMBF 0             :   2004-512841                  WAR RANT NUMBER: GS190')'22

PROSECUTOR: Marcus D Ryherd
DEFENDANT: James H Williams JR
VICTIM:


                            STATE OF TENN ESS EE , COUNTY OF OA VlOSON
                                            AFFIDAVIT
                                      Alterat;on of Item's Distinguishing Numbers
                                                       39-14- 134


Personally appeared before me, the undersigned, (Select one! _ x Commissio ner .... _ Metropolitan
General Sessions Judge, the prosecutor named above and made oath in due form of law that {Select
oneJ _x_ he _ she [Select one} _ personally observed _x_ has probable cause to believe that
the defendant named above on 10/06/2004 in Davidson County, did unlawfully [Enter brief
deseription of the offense)    defendant was in possession of a handgun which the serial number
plate had been removed and that the probable cause is as follows:


        Defendant was arrested for unlawful possession of a handgun. A check of the handgun should
that the serial number plate on the Glock had been removoo. The plate is suppose to be located on the
bottom of the pistol's upper receiver.




Prosecutor: Marcus D Ryherd        0000008939
                200 James Robertson Parkway
                Nashville, Tcnne:Jsec 3720 I



Sworn to and subscribed before me on to/07/ 2004 01:42:47 .



Steve Holzapfel
Judge of the Metropohtan General Sessions Court/Commissioner




           Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 47 of 116 PageID #: 81
p,..,p I of I
COMPLAINT NUMBr ·•: 2004-' 12841                             WARRANT NUMBER: GS 19" -.'25

PROSECUTOR: Marcus 0 Ryherd
DEFENDANT: James H Williams JR
VICTIM:

                         STATE OF TENNESSEE, COUNTY OF DAVIDSON
                                         AFFIDAVIT
                            UNLAWFUL POSSESSION OF A WEAPON
                           (FELON IN POSSESSION OF A HANDGUN)
                                      T.C.A. 39-17-1307

Personally appeared before me, the undersigned, (Select oneJ _x_ Commissioner, _ . Metropolitan
General Sessions Judge, the prosecutor named above and made oath. in due form of law that {Select
one) ·- x_ he _    she (Select one) _    personaJly observed _x_ has probable cause to believe that
the defendant named above on 10/06/2004 in Davidson County, (Select one) _               having been
convicted of a felony involving the use or attempted use of force, violence, or a deadly weapon _x_
having been convicted of a felony drug offense, intentionally, knowingly, or recklessly did possess a
handgun, and the probable cause is as follows:

        Police were conducting a walk through of Parkview Terrace, MDHA property. During the
walk through police observed three male blacks hanging around in front of 107 North 6th Street. As
Officer Ryherd approached the individuals the defendant walked away and turned the corner of the
apartment building, out of Officer Ryherd's view. Officer Pilarski had positioned himself on the end
of the adjacent building. Officer Pilarski observed the defendant stop next to a bush. The defendant
then reached into the front of his pants and pulled two objects out. The defendant then bent over next
to the bush and place the objects on the ground. 1be defendant then walked back around the comer.
Police went to where the defendant was observed placing the objects. Police recovered two hand
guns. One was a Glock Model 19, serial number BHT848. The Glock had a 30 round magazine. The
Glock had one round in the chamber and 16 rounds in the magazine. The other handgun was a
Charter Anns .38 revolver, serial number 650273. The Charter Arms had 5 rounds in the cylinder.
The defendant has a Felony Drug conviction dated 08 -18-1994.




Prosecutor: Marcus D Ryherd 0000008939
             200 James Robertson Parkway
             Nashville, Terutcssee 37201



Sworn to and subscribed before me on       10/07/2004 OJ :45:30.




Steve Holzapfel
Judge of the Metropolitan General Sessions Court/Commissioner




        Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 48 of 116 PageID #: 82
COM PLA INT NUMBr>n:                      2 004 - ~   ' 2841           WARRANTNUMBER: GSl91'"?6

PROSECUTOR: Marcus D Ryherd
DEFENDANT: James H Williams JR
VICTIM:


                                      STATE OF TENNESSEE, COUNTY OF DAVIDSON
                                                     AFFIDAVIT
                                        Weapon- Commission of Offense while Wearing a Body Vest
                                                             39- 17-1323



Personally appeared before me, the undersigned, (Select oneJ ·- x__ Commissioner _ Metropolitan
General Sessions Judge, the prosecutor named above and made oath in due form of law that [Select
one) _x_ he_ she fSeled one} __x_ personally observed _ has probable cause to believe that
the defendant named above on 10/07/2004 in Davidson County, did unlawfully (Enter brief
description of the offenseJ   wear a bullet-proof vest while anned and that the probable cause
is as follows:


        Defendant was arrested tor Felon in possession of a weapon. During a search in the booking
area of the CJC police found the defendant was wearing body armor. Defendant is a convicted felon.




Prosecutor: Marcus 0 Ryherd 0000008939
                          200 James Robertson Parkway
                          Nashville, Tennessee 3720 I



Swom to and suhscribed before me on l0/07/2004 02:06:31 .



Steve Holzapfel
Judge of the Metropolitan General Sessions Court/Commissioner




                    Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 49 of 116 PageID #: 83

n   ~ ...   ,   ... r 1
COMPLAINT NlJMp:· ., : 2006·' 1 9689                      WARRANT NUMfH<.R: GS2f . •56

PROSECUTOR: Bradley T Bracey
DEFENDANT: James H Williams
VICTIM:

                            STATE OF TENNESSEE, COUNTY OF DA YIDSON
                                           AFFIDAVIT
                              UNLAWFUL POSSESSION OF A WEAPON
                               (FELON IN POSSESSION OF A HANDGUN)
                                               T.C.A.39-17-l307

Personally appeared before me, the undersigned, [Select one] _x_ Corrunissioner, _ Metropolitan
General Sessions Judge, the prosecutor named above and made oath in due fonn of law that [Select
oneJ _ x_ he _ she [Select one) _x_ ·- personally observed _ has probable cause to believe that
the defendant named above on 03/16/2006 in Davidson County, [Select one] - ·· having been
convicted of a felony involving the use or attempted use of force, violence, or a dead1y weapon _ x_
having been convicted of a felony drug offense, intentionally, knowingly, or recklessly did possess a
handgun, and the probable cause is as follows:

       I stopped vehicle for a seatbelt violation at S 5th at Woodland. As police approached the
vehicle the vehicle sped off. The vehicle went down Woodland and got on I 24 south. As the vehicle
was getting on the ramp it appeared that a black object came out the window. The vehicle finally
stopped in the CW'Ve at the 124, 40 split. Once the suspect was in custody, I gave police the location
where to look for the object. A loaded, black, Para Ordinance 45 caliber was located. The suspect
has been convicted for selling schedule II and was convicted of Felon in poss. of a handgun in 04.




Prosecutor: Bradley T Bracey 0000010085
             200 James Robertson P11rkway
                  Nashville, Tennessee 37201



Sworn to and subscribed before me on 03/16/2006 23:32:58 .


Steve Holzapfel
Judge of the Metropolltan General Sessions Court/Commissioner




        Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 50 of 116 PageID #: 84                                      .,
                                                                                                    t; ~; ~~   ~ ~ 1:   I
' . COM,PLAINT NUMB_P'> : 2006- I ;tQ689              WARRANT NUMBER:            GS26145~


  PROSECUTOR : Bradley T Bracey
  DEFENDANT: James H Williams
  VICTIM:

                          STATE OF TENNESSEE, COUNTY OF DAVIDSON
                                         AFFIDAVIT
                                 TAMPERING WITH EVIDENCE
                                       T.C.A. 39-16-503

  Personally appeared before me, the undersigned, (Select one) _x_ Commissioner_ Metropolitan
  Gent::ral Sessions Judge, the prosecutor named above and made oath in due fonn of law that
  (Select one] _x_ he _ she (Select one} _ x_ personally observed __ has probable cause to
  believe that the defendant named above on 03/16/2006 in Davidson County, knowing that an
  investigation or official proceeding was pending, or in progress, did intentionally or knowingly alter,
  destroy, or conceal any record, document, or thing with intent to impair its verity, legibility, or
  availability as evidence in the investigation or official proceeding, and the probable cause is as
  follows:

         I stopped vehicle for a seatbelt violation at S 5th at Woodland. As police
  approached the vehicle the vehicle sped off. The vehicle went down Woodland and
  got on I 24 south. As the vehicle was getting on the ramp it appeared that a black
  object came out the window. The vehicle finally stopped in the curve at the I24, 40
  split. Once the suspect was in custody, I gave police the location where to look for
  the object A loaded, black, Para Ordinance 45 caliber was located.



  Prosecutor: Bradley T Bracey 0000010085
                200 James Roben son Parkway
                Nashville, Tennessee 37201



  Sworn to and subscribed before me on 03/16/2006 23:31:44.


  Steve Holzapfel
  Judge of the Metropolitan General Sessions Court/Commissioner




           Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 51 of 116 PageID #: 85
     COMPLAINT NlJMBF' · · 2006-JAQ689                    WARRANT NUMBER: GS2614Y

     PROSECUTOR: Bradley T Bracey
     DEFENDANT: James H Williams
     VICTIM:

                             STATE OF TENNESSEE, COUNTY OF DAVIDSON
                                            AFFIDAVIT
                                    TAMPERING WITH EVIDENCE
                                                 T.C.A. 39-16-503

     Personally appeared before me, the undersign~d, (Select one} __x_ Commissioner_ Metropolitan
     General Sessions Judge, the prosecutor named above and made oath in due fonn of law that
     (Select one] _ x_ he_ she [Select one] _ x_ personally observed __ has probable cause to
     believe that the defendant named above on 03/ 16/2006 in Davidson County, knowing that an
     investigation or official proceeding was pending, or in progress, did intentionally or knowingJy alter,
     destroy, or conceal any record, document. or thing with intent to impair its verity, legibility, or
     availability as evidence in the investigation or official proceeding, and the probable cause is as
     follows:

            .I stopped vehicle for a seatbelt violation at S 5th at Woodland. As police
     approached the vehicle the vehicle sped off. The vehicle went down Woodland atrd
     got on I 24 south. As the vehicle wa.v getting on the ramp it appeared that a black
     object came out the window. The vehicle finally stopped in the curve at the /24, 40
     split. Once the suspect was in custody, I gave police the location where to look for
     the object. A loaded, black, Para Ordinance 45 caliber was /{)cated.



     Prosecutor: Bradley T Bracey 0000010085
                   200 James Robertson Parkway
                   NashviUe, Tetmcssee 37201



     Sworn to and subscribed before me on 03116/2006 23:3 J :44.


     Steve Holzapfel
     Judge of the Metropolitan General Sessions Court/Commissioner




              Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 52 of 116 PageID #: 86I , . , ; : ( ' l.                          1
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..
 Incident Report
'M.N P.O. Foom 100                                                                                                                •age 4 of
            ~~-~-~-·                                           112. Searched Location (Address, Area. Etc.)




                                                                                                      114. Other                         Qamtslic ViOittl(•
                                                                                                      Units                              ~-9
                                                                                                   Called:                               M_.dEum;.,.,

               115. Police                                                              . Type of Activity
               Assault Cleared
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 121 . Report is ConUnued on   to.oc~< od lhltopplyJ

 122. Signature of Recipient/Authorlzer


 Will Victim #1 Prosecute                                        Will VlctJm #2 Proserule                                               126. AdviSQry Notice Issued
                                                                                                                                            0 Qamealic Viohlnt<o Nolleot
                                                                      Victim #2
                                                                      Oop 112                                                               0 '--·""'"""'""".....
                                                       Last)                                                                            127. Case Status
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         Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 53 of 116 PageID #: 87 0                                                                                                    Juvtt~H. No Cuolody
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                                                                                20DBOCT -3 Pr1 :J: 56
STATE OF TENNESSEE
                                                                                D·
vs.                                                      CASE NO: 2007-A-732

LEONARD C. HARRIS


               MOTION TO EXECLUDE All PRIOR UNCHARGED CRIMINAL OFFENSES AND
                                       OTHER CRIMES

        Comes now the Defendant, by and through counsel, and moves this Court for entry of an Order
excluding introduction of all evidence of prior uncharged criminal offenses and other crimes alleged to
have been committed by the Defendant. As grounds therefore the Defendant would submit the
following:

        1. Possession of Cocaine, Case Number 93-D-1410.
        2. Theft of Property over $500.00, Case Number 93-D-1410.
        3. Tampering with Evidence, Case Number 93-D-1410.
        4. Theft of Property under $500.00, Case Number GS-186961
      q.   State' Motion To Revoke, Increase, or Alter Bail

        Introduction of evidence or testimony by the alleged victims or witnesses related to any other
uncharged criminal act is not admissible. State v . Rickman, 876 S.W . 2d 824 (Tenn. 1994); State v.
Burchfield, 664 S.W. 2d 284 (Tenn. 1984).

        Wherefore, the Defendant moves this Court to enter an Order excluding any other prior
uncharged criminal offenses and other crimes in this matter, as evidence. Further, that the District
Attorney be instructed to not directly or indirectly attempt to convey such evidence to the jury in any
manner and in the event the State considers that the evidence has become relevant for any purpose
that prior to its introduction before the jury; the Defense requests a jury-out hearing to allow the Court
to determine the adm issibility of the evidence.




Nashville, Tennessee 37206
(615) 474-7826

                                        CERTIFICATE OF SERVICE

       I hereby certify that an exact copy of the foregoing has been delivered to the Districts
Attorney's office this 3'd day of October 2008.




  Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 54 of 116 PageID #: 88
Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 55 of 116 PageID #: 89
                    IN THE CRIMINAL COURT FOR DAVIDSON C              TY, TENNESSEE
                                           DIVISION I
                                                                                         2DflG OCT -3 Pl·1 2: 56

STATE OF TENNESSEE
                                                                                         '   ..
                                                                                         r- ..




vs.                                              CASE NO: 2007-A-732


LEONARD C. HARRIS

                            MOTION FOR ARREST HISTORIES OF WITNESSES


        Comes now the Defendant, by and through counsel, pursuant to Tennessee Code Annotated
Section 40-32-101 (c) (3), and moves this Honorable Court to enter an Order requiring the State of
Tennessee to furnish the Defendant's counsel, the arrest histories of all potential w itnesses in this
matter.

        WHEREFORE, the Def endant respectfully requests t hat t he Court Order the State of Tennessee
to provide to Defendan t 's co unsel, arrest histories of all pote ntial witnesses.

                                                                                 . Respectfully submitted,




                                                                                 Karl E. Pulley, BPR#1276
                                                                                             P.O. Box 6835
                                                                                      Nashville, TN 37206
                                                                                          (615) 474-7826

                                        CERTIFICATE OF SERVICE

         hereby certify that an exact copy of the foregoing has been delivered to J. Wesley King Ill,
       nt District Attorney, t his 3'd day of October 3, 2008.

                   ~




  Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 56 of 116 PageID #: 90
      IN THE CRIMINAL COURT }'OR DAVIUSON COUNTY, TENNESSEE
                            DIVIS.ION 1

 STATE OF TENNESSEE                            )
                                               J                                           ~
 v.                                            ]                      2007-A-732    ,.J_   ~
                                                                                           •:O

                                               I                                             __,
                                                                                           !"?
                                                                                           ._.....,
                                               ]
 FREDERICK BRAXTON                             ]                                               <..?


                         MOTION TO SUPPRESS EVIDENCE                                                    -...
                                                                                                      .,..! ·

                                                                                                          ·.)



        Comes now the defendant, Frederick Braxton, by and through counsel, ·~ee                         ·&·,
 Sprouse, pursuant to Article I § 7 of the Tennessee Constitution and the Fourth

 Amendment to the United States Constitution, and respectfully requests this H onorable

 Court suppress the marij uana found on Mr. Braxton's person by police on March 17,

 2006. ln suppor t of said Motion, Mr. Braxton would o1fer the foll owing:

         On March 16, 2006, of1icers were dispatched about a male black named Frederick

 Braxton dressed in all black in a blue Monte Carlo Waving a gun at the Auto Wash, a

 business near Main Street and North 6111 Street in Nashville, Tennessee. Mr. Braxton was

 stopped and searched, and no weapon was fonnd. 1Iowcvcr, police did a warrant search,

 and it was discovered Mr. Braxton had an outstanding warrant for a probation violation.

 He was then searched incident to arrest and the police discovered 2.6 grams of m arijuana

 in h1s shoe.

         Under both the fe deral and slate constitut ions, «a warrantless search or seizure is

 presumed unreasonable, and evidence d iscovered as a result thereof is subject to

 suppression, unless the state demonstrates that search or seizure was conducted pursuant

 to one of the narrowly defined exceptions to the warrant requirement." Stale v. Bridges,

 963 S .W.2d 487 (Tcnn.1997)




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 57 of 116 PageID #: 91                                          ' \ ·, ~ i ')   1/
                                                                                                                u '·'   \.J ' ' '   t
        Police officers did not know there was a warrant lor Mr. Braxton's arrest when

 the stopped and searched him on March 17, 2006. They had no reasonable suspicion, nor

 probable cause to slop and search him. The stop and seizure of Mr. Braxton led police to

 run his name for warrants, and it was the revelation that Mr. Braxton had a warrant for

 his anest that led to the second search, this time incident to his arrest, that led to the

 recovery of the marijuana. Therefore, the final search was the product and the proximate

 result of the initial illegal seizure, and therefore any evidence discovered as a result must

 be suppressed. Wong ,)'un v. United States, 371 U.S. 471 (1963) .
                            .
        For the foregoing reasons, Mr. nraxton respectfully requests this Honorable Court

 suppress the marijuana found on his person on March 17, 2006.




                                               LEE SVROUSE, No. 025082
                                               Attorney for Defendant
                                               1308 Rosa I'· Parks Boulevard
                                               Nashville, Tennessee 3720g
                                               (6 15) 254-0202



                                CERTJFICATE OF SERVIC~

         ! hereby certify that a true and exact copy of the foregoin g Motion to Suppress

 Evidence has been provided to the Honorab le J. Wesley King, Assistant District

 Attorney, 222 Second Avenue North, Suite 5000, Nashville, Tennessee 37201 on this the

 ____ day of August, 2008.


                                               LEE SPROUSE



Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 58 of 116 PageID #: 92
             IN THE CRIMINAL COURT FOR DAVJDSON COUNTY, TErfNFfflEE
                                   DIVISION I                  l.... ~                                         D
                                                                                      a~,.   1o
    STATE OF TENNESSEE                            )                      "f~
                                                                                  ~Vio c           Rf!c'jj

                                                  )r ,....                     ~..... ......__~~~-    ~

    VS.                                                      CASE NO: 2007-A-732        .,    · ..........   1')_.




    FREDERICK EDWARD B


                        NOTICE OF INTENT TO USE CONVICTIONS
                    OR PRIOR BAD ACTS FOR IMPEACHMENT PURPOSES

           The Office of the · District Attorney General, prosecuting on behalf of the State of

    Tennessee, pursuant to Tennessee Rules of Evidence 609 and 405, gives notice of its intent to

    use the following acts or convictions for impeachment purposes should the defendant testify in

    this cause:

            On October 8, 2007, Defendant was arrested and subsequently charged with the offenses

    of Sale of Cocaine, Possession of Cocaine with Intent to Sell or Distribute, Evading Arrest with a

    Motor Vehicle with Risk of Bodily Injury or Death, and Criminal Impersonation. These cases

    are pending in Criminal Court Division I under case number 2008-B-1358.                       Part of the

5   underlying factual basis for the Ctiminal Impersonation charge j s that Defendant, when asked his

    name by the police officers, assumed a false iden6ty wi th the intent to defraud the officers.




      Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 59 of 116 PageID #: 93                                                        '
                                                                                                                     • l . ~ ; ( ; ~) ..)
                                               Respectfully submitted,




                                               J.          ng 1 J
                                               Te1m. Sup. Ct eg. #241 37
                                               Assistant ·strict Attomey General
                                               Washington Square, Suite 500
                                               222 Second Avenue North
                                               Nashville, TN 37201-1649
                                               (615) 862-5500



                               CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing has been faxed and mailed to

Lee Sprouse, Counsel for Mr. Frederick Braxton, 1308 8 1h Avenue North, Nashville,

Tennessee 37208 on this the gth day of October, 2008.




 Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 60 of 116 PageID #: 94
                              IN THE CRIMINAL COURT FOR DAVIDSON COUNTY, TENEJEJ-
                                                        DIVISION I
                                                                                                    ~b D
                                                                                                       I' . .
                                                                                          OCT    13    ,cl. ~


                                                                                     . 0AW> c; i Oli P.f:NV<.:
     STATE OF TENNESSEE                                  )
                                                         )                      fN
                                                                                   ~~.d
                                                                                    ·"
                                                                                        ··-• ~iJli ~al\
      vs.                                                )       CASE NO. 2007-A-732
                                                         )
      LEONARD C. HARRIS                                  l
      MOTION IN liMINE/NOTICE OF THE DEFENSE COUNSEL'S INTENT TO INTRODUCE THE PRIOR CRIMINAL
                                     HISTORY OF JAMES WILLIAMS

             Comes now the Defendant, by and through his counsel, and respectfully gives the State of
      Tennessee notice of his intent to introduce the prior Convictions or Prior Bad Acts of the referenced Co-
      Defendant. In support of the Motion the Defendant states the following:

~ ~~~ 1.               Oomesti€Assa~: ~l t:GS-183862
~     "          2.    Recl<le&s Endangerment (Felouy). GS-19022 1
                 3.    Alteration of Item's Distinguishing Numbers: GS-190222
b?'t~J. 4.              UAiawful Possession Of ,A, Wea~on
Al ~ t.OI!\1..1. t;,   Weapon €om mission of OffeAse While-Wearirtg e Body Vest. 1'9~
                 6.    Unlawful Possession of A Weapon: GS-261456
                 7.    Tampering With Evidence: GS-262454



             This Notice is giv en pu rsuant Tennessee Rules of Evide nce 609 and 405 for impeachment
      purposes and in order to adequately defend Mr. Harris.

                                                 CERTIFCATE OF SERVICE

                 I hereby certify that a true and exact copy of the foregoing Motion/Notice was delivered to J.
      Wesley Ki n Ill Assistant District Attorney General on this 13'd day of October 2008 and Lee Sprouse,
      Attar




          Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 61 of 116 PageID #: 95                              •    I .
                                                                                                                  d   l1   L• '\.''
                                                                                                                                ' ') ()
                                                                                                                                     ,)
                                                                    ...~ ....

                       IN THE CRIMI NAt couRT FOR DAVIDSON        co~NTY, TE,.islel E 0
                                               DIVISION I              '        ,,           I'/
                                                                                     ·ocr   1s   !;.

STATE OF TENNESSEE

vs.
LEONARD C. HARRIS

MOTION IN LIMINE/NOTICE OF THE DEFENSE COUNSEL'S INTENT TO INTRODUCE THE PRIOR CRIMINAL
                         HISTORY OF FREDERICK EDWARD BRAXTON

       Comes now the Defendant, by and through his counsel, and respectfully gives the State of
Tennessee notice of his intent to introduce the prior Convictions or Prior Bad Acts of the referenced Co-
Defendant. In support of the Motion the Defendant states the following:

         1.     ConvictionVoluntary Manslaughter: Case No.2000-C-1394                  ~
         2.     Incident Number 06-149647/Broderick E. Jones Reporting Offi cer ---io- ~

       This Notice is given pursuant Tennessee Rules of Evidence 609 and 405 for impeachment
purposes and in order to adequately defend Mr. Harris.

                                           CERTIFCATE OF SERVICE

         I hereby certify that a true and exact co py of the foregoing Motion/Notice was delivered to J.
Wesley   Kin~   Ill Assistant District Attorney General on this 13th day of October 2008 and Lee Sprouse,




  Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 62 of 116 PageID #: 96
                                                                                                            J   1
                                                                                                            (.j ' )   J
                                                                                                                          I
                                                                                                                          \
                                                                                                                              ',j   .l
                                                                                                                                    .. )
                             IN THE (              MINAI . "'RCUIT COURT OF DAVIDSON COU' 'T)', TENNr                                                    )EE

  Case Number: 2000-C-1394                              Count#: 1                                       Attorney for the State: Scretchen, Derrick
  Judicial Dislrict: 20      Judicial Division:CC Division II                                     Counsel for the Defendant: Duzane, George J.
 State of Tennessee
 vs.
                                                                                                                                  r   Retained   r    Appointed   r    Public Defender

 Defendant: Braxton. Fredrick E.                                                                                      Alias:
 Da te of Birth: 01 /08/ 1981          Sex: Male                   Race: Black                                                                       SSN: XXX-XX-XXXX
 Indictment Filing Date:                                                                TDOC:                                  TBI Document Control#:

                                                                                  JUDGMENT
 Comes the District Attorney General for the State and the defendant with counsel of record for entry of j udgment.
 On the 02ND Day of APRIL , 2001 , the Defendant:

  1\1 Plea Guilty               r
                                Dismissed                                        Indictment: Class: M          Type: Felony
  r     Nolo Contendere    l Retired                                             Offense: First Degree Murder- Premeditated/Intentional
  l     Guilty Plea- Pursuant to 40-35-313                                       Amended Charge:
                                                                                 Offense Date: 10/25/1999       To 10125/1999    County: Davidson
  Is found:                     IV    Guilty      l NotGuilty                    Conviction Offense: Voluntary Manslaughter
  l    Jury Verdict             l     Not Guilty by reason of Insanity           Convicted TCA # : 39-13-211            Sentence Imposed Date: 04102/2001
  r    Bench Trial                                                               Is this convictk>n offense methamphetamine related?      Yes    Il No
                                                                                 Conviction Class: C             Type: Felony


Aller Constdenng the evtdence the entire record and all factors in TCA Title 40 Chapter 35 all of which are incorporated by reference herein 'the Court's findings and rulings are·
                      Sentence Reform Act of 1989                                                     Concurrent With:                      Pretrial Jail Credit Period{s}:
 Offender Status (Check One)       Release Eligibility (Check One)
  r     Mitigated                I     Mitigated           r        Multiple Rapist 100%
                                                                                                                                            From                      to

  f\1                            r                         r
  F     Standard
        Multiple
        Persistent
                                       Mitigated 30%
                                ~Standa rd
                                       Multiple
                                                           l
                                                               l
                                                                    Child Rapist 100%
                                                                    Repeat Violent 100% Consecutive To:
                                                                                                                                            From

                                                                                                                                            From
                                                                                                                                                                      to

                                                                                                                                                                      to
  r     Career                   r     Persistent
                                                               l
                                                                     1st Degree Murcer

  l     Repeat Violent 1         r     Career                        School Zone                                                            From                      to
                                 r     V iolent 100%           r     Gang Related
  Sentenced to:                  I     TDOC                JV       Workhouse                 f\7 Workhouse
  Sentence length:                  Years:      Months:             Days:            Life:            Life Without Parole:       Death:
         IMQndatory Minimum Sentence Length:                    39-17-417, 39-13-513, 39-13-514 in School Zone or                                    55-10-401 DUI4lh Offense
          Period of Incarceration to be Served Prior to Release on Probation
          Minimum service prior to eligiibility for work release, furlough, trusty status and rehabilitation programs:                           (Misdemeanor Only)
  Alternative Sentence :        l      Probation           l        Diversion                l        Community Based Alternative



       Court Ordered Fees and Fines:                                              Restitution: V ictim Name:                                                           Child Support:
              Crimin al Injuries Compens ation Fund                                            .A.ddress:
              Sex Offender Tax
              Court Costs              Cost to be Paid by:                                              Total Amount:                 per Month:
              Fine Assessed              r
                                      Defendant     l State
              Other                                                              r     Unpaid Community Service: Hours: Hours                    Days          Weeks                Months

             IV The Defendant having been found guilty is rendered Infamous and ordered to provide a biologica l specimen for the purpo se of DNA analysis.
Special Conditions :        IV Pursuant to 39-13-524 the defendant is sentenced to community supervision for life following sentence expiration.
      Jail cred it from 10/28/99 to 4/2/01••ses t interest plea"


                                                                                             ..   '
                                                                                                  I



  Judge's Name                                                                       Judge's Signature                                    Date of Entry of Judgment



  CR-3419 (Rev. 9·05) RDA-1167                     Attorney for State: Scretchen, Derrick                                      Defense Attorney: Duzane, George J.
  COPY
                    Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 63 of 116 PageID #: 97                                                                                               . '
Tenn Dept Of Corrections
                                                                                                                                                                           Lt \)   u :   ~   lJ d
         IN THE CRJMINAL COURT FOR DAVIDSON COUNTY, TENNESSEE
                               DIVISION I

STATE OF TENNESSEE                           )                            t('
                                             )                            J
                                             )                             ·<
                                                                           ,l>


vs.                                          )    CASE NO: 2007-A-7,.                  ·om   1308
                                             )

FREDERICK EDWARD BRAXTON
                                             )
                                             )
                                                                          t
LEONARD CARDELL HARRIS                       )



                              STATE'S MOTION IN LIMINE #1

       The Office of the District Attomey General, prosecuting on behalf of the State of

Tennessee, respectfu lly moves this Court to instruct defense counsel that prior to any references

or questioning in front of the jury concerning any witness's prior criminal behavior or prior bad

acts that the defense counsel be required to ask the Court in the absence of the jury for a mling of

admissibility of the prior criminal behavior or the prior acts. Tennessee Rules of Evidence 608,

609.




                                                  J. Wesley King III
                                                  Tenn. Sup. Ct. Re . #24137
                                                  Assistant Dis~t Attorney General
                                                  Washington Square, Suite 500
                                                  222 Second A venue North
                                                  Nashville, TN 37201 -1649
                                                  (615) 862-5500




 Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 64 of 116 PageID #: 98
                               CERTIFICATE OF SERVICE

       I hereby cet1ify that a true and exact copy of the foregoing has hcen hand-delivered to

Lee Sprouse, Counsel for Mr. Frederick Braxton, 1308 8th Avenue North, Nashville,

Tennessee 37208 and Karl Pulley, Counsel for Leonard C. Harris, P.O. Box 68352,

Nashville, Tennessee 37206, on this the 13th day of Oetobcr, 200 ,




 Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 65 of 116 PageID #: 99                  .     '- ' ' t ')
                                                                                             ~J \J L; \ ' ' ~ ..
                  IN THE CRIMINA L COURT OF DAVIDSON COUNTY, TENNESSEE, DIVISION I
                  MINUTES, OCTOBER 13, 2008

                  STATE OF TENNESSEE

                  VS.                   CASENO. 2007-A-732

                  FREDERICK EDWARD BRAXTON
                  LEONARD CARDELL HARRIS

                  CAME THE ATTORNEY GENERAL WHO PROSECUTES FOR 1HE STATE AND 1HE
2007-A-732        DEFEN DANTS IN PERSON, BEING REPRESENTED BY COUNSEL, WHO BEING
                  ARRAIGNED UPON SAID INDICTMENT PLEAD NOT GUILTY TO 1HE SAME AND WENT
J{ffiY WAS        TO TRIAL.
SBLECTRD AND
SWORN
OPENING           1HEREUPON TO WELL AND TRULY TRY THE ISSUES JOINED THERE CAME A JURY
STATEMENTS        OF GOOD AND LAWFUL MEN AND WOMEN OF DAVIDSON COUNTY, TO-WIT:
AND A PORTION     DANfELLE LEVIN E, JUDITH KLICH, CONIIE MORGAN, ANNA EZELL, ALLYSON
OF STAIR'S        HOBBIE, PENN Y MILLER, JANNA POGUE, MARY MCCAULEY, JANA WILLIS,
PROOF
                  LADONNA MERVILLE, DAVID WARD, AND ANTHONY RUCKER, WHO BEING DULY
                  ELECTED, IMPANELED, TRIED AND SWORN TO WELL AND TRULY TRY 'IHE ISSUE~·
                  JOINED AND TRUE DELIVERANCE MAKE ACCORDING TO 1HE LAW AND EVIDENCE
RRSPTTRD          AND WEY PROCEEDED TO SELECT AN ALTERNATEWROR, LISA LEE, WHO BEING
                  DULY ELECTED, IMPAN.E:,LED, TRIED AND SWORN TO WELL AND TRULY TRY THE
                  ISSUES JOINED AND TRU 8 DELIVERANCE MAKE ACCORDING TO lHE LAW AND
                  EVIDENCE AND THEY HAVING HEARD THE INDICTMENT READ BY THE ATTORNEY
                  GENERAL AND HAVING HEARD OPENING STATEMENTS, A PORTION OF STATE'S
                  PROOF, AND TIIERE NOT BEING SUFFICIENT TIME ON TODAY TO CONCLUDE 1HE
                  TRIAL, 1HE JURY WAS RESPITED FROM THE FUR1HER CONSIDERATION OF THE
                  CAUSE ON TRIAL UNTIL THE MEETING OF COURT TOMORROW MORNING AT EIGHT
                  11-IIRTY; SAID JURORS BEING ALLOWED TO SEPARATE BY CONSENT OF COUNSEL
                  FOR THE STATE AND THE DEFEN DANT AND CONCURRED IN BY THE COURT IN
                  ACCORDANCE WITH 1HE PROVI SIONS OF SECTION 40-IS-11 6 AS AMENDED.

                  LEE SPROUSE , Al TORNEY FOR DEFENDANT BRAXTON

                  KARY PULLEY, ATTORNEY FOR DEFENDANT HARRIS

                  J. WESLEY KING AND PAMELA ANDERSON . ASSTSTANTDISTRI CT ATTORNEYS




             Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 66 of 116 PageID #: 100
     ORDERED 1HAT COURT STAND ADJOURNED UNTIL IN THE MORNING AT EIGHr
     THIRTY.


                             STEVE DOZIER, JUDGE




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 67 of 116 PageID #: 101
                  IN 1HE CRIMINAL COURT OF DAVIDSON COUNlY, TENN ESSEE, DIVISION l
                  MINUTES, OCTOBER 14,2008

                   STATE OF TENNESSEE

                  VS.                   CASE NO. 2007-A-732

                  FREDERICK EDWARD BRAXTON
                  LEONARD CARDSLL HARRIS

                  CAME 1HE ATTORNEY Gh"NERAL WHO PROSECUTES FOR THE STAlE AND THE
2007-A-732        DEFENDANTS IN PERSON, ALSO THE JURY HERETOFORE IMPAN ELED IN THIS
                  CAUSE WHO WERE ON YESTERDAY RESPITED FROM THE FURTHER
CONCLUSION        CONSIDERATION OF TI-lE CAUSE ON TRIAL UNTIL THE MEETING OF COURT TODAY;
OF STATE'S
                  CAME HERE INTO OPEN COURT AND RENEWED 1HETR CONSIDERATION OF THE
PROOF,
DEFENDANT         CAUSE ON TRIAL AND THEY HAVING HEARD CONCLUSION OF STATE'S PROOF,
Ilf\RRTS PROOF,   DEFENDANT HARRIS PROOF, DEFENDANT BRAXTON PROOF, Willi WAIVERD OF
DEl'ENDANT        RIGHT TO TESTIFY EXECUTED, STATE'S REBUTTAL AND THERE NOT BEING
BRAXTON           SUFFICIENT TIME ON TODAY TO CONCLUDE THE TRIAL, THE JURY WAS RESPITED
PROOF, WI"l1J
                  FROM 1HE FURTHER CONSIDERATION OF 1HE CAUSE ON TRIAL UNTIL TH E
WAIVF.RD Of
RIGHT TO          MEETING OF COURT TOMORROW MORNING AT TEN O'CLOCK. SAID JURORS BEING
TESTIFY           ALLOWED TO SEPARATE BY CONSENT OF COUNSEL FOR THE STATE AND THE
EXECliTRD,        DEFENDANT AND CONCURRED IN BY THE COURT lN ACCORDANCE WITH THE
STATE'S           PROVISION OF 40-80-11 6, AS AMENDED.
RRHUTTI\.L

                  LEE SPROUSE, ATTORNEY FOR DEFENDANT BRAXTON

RESPI TED         KARL PULLEY, ATTORNEY FORDEFENDANTHARRIS

                  J. WESL EY KING AND PAMELA ANDERSON , ASSlSTANf DISTRICT ATTORN EYS




                  ORDERED THAT COURT STAND ADJOURNED UNTIL IN THE MORNING AT TEN
                  O'CLOCK.


                                          STEVE DOZIER, JUDGE




             Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 68 of 116 PageID #: 102
                  IN 1HE CRIMINAL COURT OF DAVIDSON COUN1Y, TENNESSEE, DIY IS ION I
                  rvrrNUTES, OCTOBER 15, 2008


                  STATE OF TENNESSEE

                  VS.                   CASE NO. 2007-A-732

                  FREDERICK EDWARD BRAXTON
                  LEONARD CARDELL H ARRIS

2007-A-732        CAME 1HE ATTORNEY GEN ERAL WHO PROSECUTES FOR THE STATE AND THE
                  DEFENDANTS rN PERSON, BEING REPRESENTED BY COUNSEL, ALSO THE JURY
MOTION FOR        HERETOFORE IMPANELED IN TillS CAUSE WHO WERE ON YESTERDAY RESPITED
JUDGMENT OF
                  FROM 1HE FURTHER CONS IDERATION OF TI-lE CAUSE ON TRIAL UNTIL THE
ACQUITTAL AS
TOBOTII           l\lfEETING OF COURT TODAY CAME HERE INTO OPEN COURT AND RENEWED THEIR
DEFENDANT'S       CONSI DERATION OF THE CAUSE ON TRIAL, AND THEY HAVlNG HEARD MOTION
TS DENIED,        FOR JUDGl\lfENT OF ACQUITTAL AS TO BOTH DEFENDANT'S IS DENIED, CLOSING
CLOSING           ARGUMENTS: CHARGE, AND 1HE ALTERNATE JUROR HAVING BEEN EXCUSED,
ARGUMENTS,
                  AND THE AFORESAID JURORS HAVING TAKEN TIME TO CONSIDER OF THEIR
CllARGF., AND
THE               VERDICT AFORESAID, UPON THEIR OATH AFORESAID, DO SAY: T HAT TilEY FTND
ALTERNATE         DEFENDANT BRAXTON GUILTY OF ATTEMPTED SECOND DEGREE MURDER, AND
JURORllAVfNG      THEY FIND DEFENDANT HARRIS GUlLTV OF ATTEMPTED SECOND DEGREE
RF.F.N EXCUSED    MURDER.
VERDICT
THEY FIND         llJEREU PON, TilE JURY WAS POLLED AND DISCHARGED.
DEFRNDANT
ilRAXTON          FURTHER, BOTH DEFENDANT'S BOND l S REVOKED AND THIS CAUSE IS CONfiNUED
UUIT.TYOF         FOR SENTENCE HEARING UNTIL N OVEMBER 24, 200K AT 9:00 AM.
ATTEMPTEO
SECOND
DEGREE            LEE SPROUSE, AITORNEY FOR DEFENDANT BRAXTON
MURDER, AND
TllliY FlND       KARL PULLEY, ATTORNEY FOR DEFENDANT HARRfS
DEFENDANT
HARRIS GUILTY
                  J. WESLEY KING AND PAMELA ANDERSON, ASSISTANT DISTRI CT ATTORNEYS
OF ATTEMPTED
SECOND
DF.GREE
MURDER.




             Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 69 of 116 PageID #: 103
                                                                                    l   ')
                                                                                                           .
                                                                                             t, \; t l ... '
THEREUPON,
Tllli JURY WAS
POLLED AND
DISCHARGED.       ORDERED THAT COURT STAND ADJOURNED UNTIL IN THE MORNING AT NINE
                  O'CLOCK.
FURTllliR,
!30TH
DEFENDANT'S
BOND IS                                   STEVE DOZIER, JUDGE
lillVOKED AND
TffiS CAUSE lS
CONTINUED
FOR SENTENCE
HEARING UNTIL
NOVEMllER 24,
2008 AT 9:00AM.




             Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 70 of 116 PageID #: 104
                                                                                    (Juuuo7
                   IN 1HE CR IMINAL COURT OF DAVIDSON COUNTY, TENN ESSEE, DIVISION J
                   MINUTES, NOVEMBER 24,2008


                   STATE OF TENNESSEE

                   VS.                  CASE NO. 2007-A-732

                   FREDERICK EDWARD BRAXTON

                   CAME TilE ATTORNEY GENERAL WHO PROSECUTES FOR TilE STA1E AND THE
 2007-A-732        DEFENDANT IN PERSON, BEJNG REPRESEN1ED BY COUNSEL.
DE11ENDANTS
SRNTENCEJN         THEREUPON, 1HIS CAUSE CAME ON TO BE HEARD UPON SENTENCING; AFTER DUE
COUNTONE IS
                   CONSIDERATION THE DEFENDANTS SENTENCE IN COUNT ONE IS IMPOSED WITH
IMPOSED WITH
AN AMF.Nf)F.J)     AN AMENDED JUDGEMENT ENTERED AND COUNT TWO IS CONTINUED UNTIL
JUDGEMENf          DECEMBER 18,2008 AT9:00 AM.
F.NTRRlill AND
COUNTTWOTS
CONflNUED
                   LEE SPROUSE, ATIORNEY FOR DEFENDANT
UNTIL
DECEJ\1BER 18,
2008 AT 9:00 AM.   J. WESLEY KING, ASSISTANT DISTRICT ATTORNEY




                   ORDERED THAT COURT STAND ADJOURNED UNTIL IN THE MORNING AT NINE
                   O'CLOCK.


                                          S1EVE DOZIER, JUDGE




           Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 71 of 116 PageID #: 105
                                                                                       :_' l.; v   u it._}•,
           IN THE ClHMJ.NAlJ                               :CUlT              'URT OF _ ______::D_I/-1
                                                                                                 ....:....:;_
                                                                                                         //  ----'-"
                                                                                                                 //):;..__
                                                                                                                         So
                                                                                                                          _ d_ _ . _ _COl                                 fY , TENNESSEE
 Case NumbeT:             ~ 7 - A- 7 J                             2.             Co unt #                          Attom cy for the S tate.                L Ja~.ff7 kt.~
 Judicial District: _ .        L_Q~              .J udicia l   Divi~ion:                 :r::-                      Counsel for Defendant:                 L;~       .;;r.a     '-'S <--'-. J
 St.nte ofTennes~ee                                            .                                                                               0    Retained ~ Appointed       0   Publ ic DefendeT
 vs
 U~fendant:
                               r-: ll · J
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                                                                    Qr-vtkTol-.
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                                                                                                                        Alias:
                                                                                                                                               0    Counsel Waived             0   ProSe


 D att: of B irth:         I / <g ,/ 8 J         Sex:    /V1                      R ace: _ __,[3
                                                                                               " ----- SSN:
 Indictment Filing Date:           Tllf{::o/l..tfiiATI(} , /                      TDOC # _ _ _ _ _ _ _ _ _ _ State Control # _ _ _ _ __ __ _ _ _ __

                                                                                  State lD 11                                                County Oflendcr IJ) # - - -- - - - -- - -

                                                                                                      .JUDGMENT
                                                                             ~Original                    0    Amended              0   Corrected
 Comes the District AUo rney General fur the State and the defendant with coomscl of record fo r entry of jud~:ment.
  On the             I S".f3     day o f          O v b; t~..r-                                   ,   L    Q    0    5( , the defendant:
   0    Pled Guilty        0 Dis missed/Nolle Prosequi                                        Indictment: Class (circle  one~ );'' (A) U C D E                 ,18('FcJny 0 Mis<..kmeanor
   0    Nolo Contendere 0 RelirediU na pprchended Defendant                                   Otfcn~c:             Af@~..f'_,:£ -,:::-; ~_?6._ct:._.._ ~::::c.---.k!~'-"-'-""-----
   0    Guilty Plen - P ursuant to 40-35-3 13                                                 Amcndcd C h arge: -          /      /-            ~-
                                                                                              Offense Date:         '2.. /ts-/tJT              County:     0At/11/5t:J/'l/'
    Is found:                    ~Guilty           0 Nu l Guilty                              Conviction Offense: ~~;,J;.LSrLconl D~,..." s                                  A1t-rzft...-
   )SaJury Verd ict              0     N<>t Guilty by Renson of Insan ity                     ls this con viction offense mct.ha'l)hctnminc relat ed? 0 Yd J;8( No j                  J
   0    B ench Tri a l                                                                        TCA #:       3CJ - )'Z- { 0 I            Sentence Im posed Date:           II ~4 /05!
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Arter. considering thr n•tdcucc. the entire n:cord, & all factors i n T.CA. T itle 40 Chapter JS, all of which urc oncorp<1ruled hy reference herein. the Court's findings & mlings                                    ar~;:

                             Sente n ce R ef or m Act of 1989                                                  Con current witll:                             Pretri al Jail C n:dit Pcrio d(s):
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        Maudatory M ini o111om S~ntt~nc;(~ length: _ _ _39-17-417, 39- I 1-51.1, .1 9- 1J -5 14 in 0o1Jg Free 7.vnc o•· _ _ _ 55 10 401 l)lJJ 4''' Offen~c
             or ____ _3<.). J7 -1.124 f'osscssio n/1-:mploy.ncnt of rircann
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   Co urt O r·dcrcd f ees anti     Fin~s:                                                              Hestitution:       Victim Name
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   $-        - - - Court Co!.ls                                    Cost to be P aid by                                        Total Amount$                            Per Mon th$
   $                      fine Assessed                    0       Defendant        0    Sta te
   $                      Other:                                                                       0      Unpaid Community Se1vice; _ _ _Hours _ _ Day.; - - · . Weeks                      -    _Months


                                   .t8:('n oc o~ rcmlant haviolg been found gu ilty is ruodl.'t'Ctl inliunous and ordered 10 provide a biological specimen fortloc purpose of DNA <onal}'liis
                                            0     Puosuant to 39-13-52 I the tkf~rodant is orden:d to prov1de a biolvAical ~pccimcn for the purpose of HIV testing.
   Spefia l C o nllilio n s                            0 Pursuant to .19-13-524 the defendant is sentenced to community supe:rvision fi.lr lif~ fbllowing sentence r.x.piration.




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                        Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 72 of 116 PageID #: 106                                                                                                             \I   \.1
                                                                                                                                        Dcfcnd~nt's Attomcy/Sign<lturc (optional)
 CR-.\4 I9 (l<cv l!fl8)                                                                 C:onary - I'N Dept ol       C~>r~ccliun;SM~         Pink AOC      Goldenrod Jail                            ROJ\ I I <•i
          IN THE CRIMINAl,/                              .:CUlT 1
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                                   '-----'A
                                          '--'-----'-7----'3;;.....:2=--- Count ff       _ ___./__ Attomcy for the State:
 Judicial District:            2tJf!;           Judicial Division: - - - --=1:::..____ Counsel tor Defendant:

 State of Tennessee~                                                                                                                 ~Retained       0 Appointed            Public Defender

 ~:fendant:                        ~<Jn~r-J!.. C.                     htr:s                                    Alias:
                                                                                                                                        0   Counsel Waived              0   ProSe

 Date of Birth:            ;j3 /        ZO Sex: /Vl                         Race: _ _@
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                                                                            State 10 #                                             County Offender 10 II _ _ _ _ _ _ _ _ _ _ __

                                                                                                 JUDGMENT
                                                                         ~Original                   0   Ameudcd          0   Corrected
 Comes th e District Allo:r ncy General for the State lind the defendant with counsel of record for entry of judgment.
  On the          Jc;;- (3         duy of           0 C..-/,;/,<...r                        .•   kocJ 8'          , the defendant:
   D Pled Guilty      0 Dismi~sed/Nollc Prosequi                                   : ; u" 0 B C D E
                                                        Indictment: Clas:c~J71C o.e)                                          ~ny 0 Misdemeanor
   D Nolo Contendere 0 Retired/UnapprehentleJ Defendant Offen~e:       .dm~::~            Ra·J-___i2!j,Lr.:..<L,:~,.<-..t.ct1
                                                                                                                           "-J.~~~~':...r-_ _____
   D Guilty Plea- Pursuant to 40-35-313                 Amended Charge:
                                                                                         Oftense Date:       ~(_                      County: ~AI7/.f2M!.~
    Is found:                    _g_Guilty              0
                                                       Not Guilty                        Conviction Offet1se.~~U                                     r-c ~/i1:LC.r
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   ~ury Verdict                    0   N(~t Guilty by Reason of Insanity                 ~~this convictio n offense methnmphetamine related? o~~           N~,         ,a, /...L:
   0    Bench Trial                                                                      TCA #:     39 ·           /2.. · 0/
                                                                                                                    I                       Sentence
                                                                                                                                        Imposed Dille ·                - lJ(-d---=J'(;f.+-'4"""--
                                                                                         Convlction: C lass (circle one)           I" A     @ C D         E            ,Q(rclony     0    Mtsdcmeanor

After considCJ·ing the evitlenc~, the entire record, & all factor,; in T.C.A. Title 40 Chapcer J5, all of which arc incorporated by refcrcncr. hCJ'Cin, the Coutt's liuJing~ & rulings arc:

                               Sentence Reform Act of 1989                                               Concurr~nt   with:                             Pretrial Jail Credit Period(s):
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      Mandaloty Minimum Senl~nce l.ength: ··-- __39-17-417,39-1.3-513. 39-JJ-51-1 in lln1ghee Lone or _ _ _5510-401 OUI4'" O!Tcnsc
          or _ _ _3<!-17-l 324 Posscssion/Fmploymc::nt of Fire;mn
      Period of inearce.-ation to he .~c• ved prior to rck;asc on probation:            Months            .Days   - - - -Hours          _ _ _Wcckcmls
      Minimum s~::rvice prior to di~ihility f(lr wnrk release, furlougl•. crusty stacus and rehabilitative programs: ___% (Misdcmr.anorOnly)
  i\hernlllhc Senten~~:       0 Problltion 0 Diversion D Dmg Court                            D Comlllunity Based /\ltcrnativc- Specify
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  Com·t. Orducd         F~es   and Fines:                                                         Hestitution: Victim Name
   $                      Criminal Injuries Compensation 1-'und                                                  Adclrcss
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   $                      Fine Assessed                    D   Defendant      0     StaLe
   $                      Other:                                                                  0      Unpaid Communiry Servi1:~:           Hours .      . Days           Weeks           Months

                                   ~The J)cfcndnnt havi11g been found guilty i.~ rendered infamous and onlcrcd to provide a hiolo~i(;al spccin~en ((,,. 1he purpose of ONA analysis.
                                            0     Pur'Suatn to 39-13-521 the dcll:nclant is ordt:rt:d to providt: a biologrcal spccimt:n for the purpose of HIV tC$ting.
   S1)ecial Conditions                                 0  Pur.;uant to 39-13·524 the defendant is sentenced co community supervi.~ion li>r lift: ft>llowing sentenct~ cxp1rauon.




                                                                                                                                                                                     uc.Jgment

                        Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 73 of 116 PageID #: 107                                                                                        lJ \, t; i j   J   tl
                                                                                                                              Defendant's 1\tlomcy/Signalure (optional)
 CR-3419 (ltcv 1'08)                                                                :.•:u wy -· Tl\' Dept of Correclion/SMS      Pink   AOC        Goltlenrod   Jail                       RDA 11(>7
      IN THE CRJMINAL COlJRT FOR DAVIDSON                    coui.J, b~~.~·~ EE
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                                                               2008 OEC 19 PH 3: 49
 STATE OF T ENNESSEE                            I               DA\JiD C. . r, J"n ; f j·lC=_ GLERI\
                                                ]
 v.                                             I               .-      .:/#i4.-732 ..DC
                                                ]
                                                I
 FREDERICK HRAXTON                              ]

                                 MOTION FOR NEW TRIAL

          Comes the Defendant, rrcdcrick Braxton, by and through counsel, Lee Sprouse,

 pursuant to Tennessee Rule of Criminal Procedure 33, and respectfully requests this

 Honorable Court to grant him a new trial for the followin g rcas.ons:

          I.        The Trial Court erred by denying Mr. 13raxton the right to cross examine

 Mr. James Williams about several areas. Specifically, the Trial Com1mlcd that counsel

 for Mr. Braxton could not cross examine Mr. Williams about the incident in which he

 was shot in the chest, which took place while he was attempting to rob a horne while

 armed.        further, counsel was not allowed to cross t:xamine Mr. Williams about the

 occasion on which he was f(nmd by police in possession of two gtms at the same time,

 one with a thirty round clip.      On lhat same occasion, Mr. Williams was found to be

 wearing body armor. Lastly, counsd was not allowed to cross examine Mr. Williams

 about the specifics of a conviction that stemmed 1i:om his possession or yet another

 handgun, which Mr. Williams threw out the sunroof of a moving car. T11is incident took

 place on March 16, 2006, a month after the attempt on his life.

          Because Mr. !·haxtun's theory of defense was that he was not present when the

 attempt on Mr. Williams' life took place, and there is no question that the shooting

 happened, then any pwof put forth to show that someone else, besides Mr. Braxton, had




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 74 of 116 PageID #: 108
 reason to try to kill M r. Williams would be of the utmost relevance. The events stated

 above, taken as a whole, depict Mr. Williams as a dangerous and violent man who lived a

 dangerous and violent lifestyle. Because there is no question that someone tried to kill

 Mr. Williams, it was key and central to Mr. Braxton's defense to show that someone else

 could have and would have done it        The evidence of Mr. WiJliams' dangerous past

 would have aided the jury in determining that someone besides Mr. Braxton attempted to

 kill Mr. Williams. T.R.E. 401, 402, State v. Brown, 29 S.W.3d 427 (Tenn.2000)

         2.     The Trial Court erred in allowing Mr. Wayne Miller to testify during the

  State's rebuttal that Mr. Braxton was in jail on an unrelated matter prior to February 14,

  2006. This testimony was prejudicial, substantially more so that any possible probative

  value in might have had. T.R.E. 403

         3.      The Trial Court erred by denying the defendant's motion for judgment     or
  acquittal, pursuant to Ruk 29 of the Tennessee Rules of Criminal Procedure.           The

  evidence presented at trial was insufficient as a matter of law to convict Mr. Braxton of

  Attempted Second D egree Homicide.

         4.      The Trial Court erred by sentencing Mr. Braxton to an excessive prison

  term. See Tenn. Code Ann. §§ 40-35- 102, 40-35 -1 03, 40-35-210.




                                               LEE SPROUSE, No. 025082
                                               Attorney k>r Defendant
                                               1308 Rosa L. Parks Boulevard
                                               Nashville, Tennessee 37208
                                               (6 15) 254-0202



Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 75 of 116 PageID #: 109
                                                                                               'I
                                 CERTIFICATE OF SERVICE
         I hereby certify that a tme and exact copy of the foregoing Motion for New Trial

  has been provided to the Honorable Wesley King, Assistant District Attorney, 222

  Second !\venue North, Suite 5000, Nashville, Tennessee 37201 on this the 19th day of

  December, 2008.




                                              LEE SPROUSE




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 76 of 116 PageID #: 110                     ,   rJ
                                                                                            UuUlJ•v
                                                                                              ;




       IN THE cRIMINAL couRT FOR J>A vinsoN couNTY,                     TEN~sllE' ~::.. L         j

                             DIVISION I                                  2008 OEC 22 PM 3~ 16
 STATE OF TENNESSEE

 v.


  LEONARD C. HARRIS

                               MOTION FOR NEW TRIAl-

           Comes the Defendant, Leonard c. Harris, by and through counsel, Lee Sprouse,

  pursuant to Tennessee Rule of Criminal Procedure 33, and respectfully requests this

  Honorable Court to grant him a new trial for the foliowing reasons:

           1.    The Trial Court erred by denying Mr. Harris the right to cross examine

  Mr. James Williams about several areas. Specifically, the Trial Court ruled that counsel

  lor Mr. Harris could not cross examine Mr. Williams about the incident in which he was

  shot in the chest, which took place while he was attempting to rob a home while armed.

  Fwther, counsel was not allowed to cross examine Mr. Williams about the occasion on

  which he was found by police in possession of two guns at the same time, one with a

  thirty round clip. On that same occasion, Mr. Wiltiams was found l.o be wearing body

  armor.    further, counsel was not allowed to cross examine Mr. Williams about the

  specifics of a conviction that stemmed from his possession of yet another handgun, which

  Mr. Williams threw out the sunroof of a moving car. This incident took place on March

  16, 2006, a month after the attempt on his life. Lastly, counsel for Mr. Harris did not

  open the door for Mr. Williams to testify regarding other alleged attempts on his life by

  Mr. Harris.




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         Because Mr. Harris's theory of defense was that he was not present when the

 attempt on Mr. Williams' life took place, and there is no question that the shooting

 happened, then any proof put forth to show that someone else, besides Mr. Harris, had

  reason to try to kill Mr. Williams would be relevant. The event:> stated above, in totality

  demonstrate that Mr. Williams is a dangerous and violent man who living a dangerous

  and violent lifestyle.       Because there is no question that someone tried to kill Mr.

  Williams, it was key and central to Mr. Harris' s defense to show that someone dse could

  have and woul d have done it. 'lbe evidence ofMr. Williams' dangerous past w ould have

  aided the jury in determining that s,omeone besides Mr. Han-is attempted to kill Mr.

  Williams. T.R.E. 401 ,402, State v. Brown, 29 S.W.3d 427 (Tenn.2000)

                 2.          The Trial Court erred by denying the defendant 's motion for

 judgment of acquittal, pursuant to Rule 29 of the Tennessee Rules of Criminal Procedure.

  The evidence presented at trial was insufficient as a matter of law to convict Mr. Jl arris

  of Attempted Second Degree Homicide.

         3.      The Trial Court erred by sentencing Mr. HmTis to an ~xcessivc prison

  term. See Tenn.     Cod~   Ann. §§ 40-35-1 02, 40-35- J 03, 40-3 5-2 10.



                                                    Respectfully   Submitt~d,




                                                    Karl ~. PuJley, No. 012761
                                                    Attorney for Defendant
                                                    P .O. Box 68352
                                                    Nashville, lennesse ~ 37206
                                                    (61 5) 474-7826




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 78 of 116 PageID #: 112
                                                                                                               .~



                                                                                           • 1   I   ~~   t ~ • \)
                                  CERTIFICATE OF SERVICE
         I hereby certify that a true and exact copy of the foregoing Motion for New Trial

 has been provided to the Honorable Wesley King, Assistant District Attorney, 222

  Second Avenue North, Suite 5000, Nashville, Tennessee 37201 on this the 22nd day of

 December, 2008.




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 79 of 116 PageID #: 113                  (,  '"
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                                           -       A.\~ fN- . s ~f·
                                               -       "{)   d'\_~~ 1'\

                                           -       -k> ()( ~":b
       IN THE CRIMINAL        COUl~T    FOR DAVIDSON COUNTY, TENNii~SS~l~
                                     IJ DIVISION I A

 STATE OF TENNESSEE

 v.                                                                       2007-A-732


 FREDERICK BRAXTON

                         MOTION TO       Stfl'l'IU~SS    EVIDJ1:NCE

         Comes now the defendant. Frederick Braxton. by and through counsel, I ,ec

 Sprouse, pursuant to Article I § 7 of the Tennessee Constitution and the Fourth

 Amendment to the United States Consti tution, and respectfully requests this Honorable

 Court suppress the marijuana found on Mr. Braxton's person by police o n March          10,~
 2006. In support of said Motion, Mr. Braxton would offer the following:

        On March 16, 2006, officers we re dispatched about a male black named Frederick

 Braxton dressed in all black in a blue Monte Carlo Waving a gun at the Auto Wash. a

 bus iness ncar Main Street and Nort h 6111 Street in Nashville, Terrnessec. Mr. Braxton was

stopped and searched , and no weapon was found. However, police did a warrant search.

and it was discovered Mr. Braxton had an outstanding warrant for a probation violation.

ll e was then searched inci dent to arrest and the police discovered 2.6 grams of marijuana

in his shoe.

        Under both the federal and state constitutions, "a warrantless search or seizure is

presumed unreasonable, and evidence discovered as a result thereof is subject to

suppression, unless the state demonstrates that search or se izure was conducted pursuant

to one of the narrowly defined exceptions to the warrant requirement." State v. Bridges,

963 S.W.2d 487 (Tenn.l 997)



Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 80 of 116 PageID #: 114
         Police ofticcrs did not know there was         H   wnrrunl f(>r Mr. Brux1on's urrcst when
                                                f>
 the stopped and searched him on March       I ~.   2006. They had no rcusonuble suspic.ion. nor

 probable cause to stop and   ~earch   him. The stop and       s~izure   or Mr. Braxton led polk~ to
 run his name for warrants, and it was the revelation that Mr. Braxton had a wurrunt for

 his arrest that led to the second search. this time incident lo his arrest, thl3t led to th<.:

 recovery of the marijuana. Therefore, the final sl!arch wa::; the product and the proximate

 result of the initial illegal seizure. and thcrdt)re any evidence discovered        1:1.';   u result must

 be suppressed. Wong Sun v. United /·,'tales. 371 U.S. 4 7l (I <)63).

        For the foregoing reasons, Mr. Braxton rcspcctl'i.Jily requests this Honorable Court

 suppress the marijuana found on his person on March I I, 2006.
                                                                 '
                                                     R~Z-tc-d,_ _
                                                     LEE SPROUSE, No. 025082
                                                     Attorney for Defendant
                                                     1308 Rosa L. Parks Boulevard
                                                     Nashville, Tennessee 37208
                                                     (6 15) 254-0202




                                CERTIFICATE OF SERVICE

        I hereby cer1ify lhat a true and exact copy of the foregoing Motion to Suppress

Evidence has been provided to the Honorable J. Wesley King, Assistant District

Attomey, 222 Second Avenue North, Suite 5000~ lie, Ten cssee 37201 on this the

_ _ day of January, 2009.                      /         /_ /


                                                    LEE Sl,ROlJSE


Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 81 of 116 PageID #: 115                                             ,,
                                                                                                              ~~t~J:,t:.,~
                  IN lliE CRIMINAL COURT OF DAVIDSON COUNTY, TENN ESSEE, DIVlSION I
                  MINUTES, JANUARY 23, 2009


                   STATE OF TENNESSEE

                  VS.                   CASEN O.   2007-A~732


                  FREDERICK EDWARD BRAXTON

                  CAME TH E ATTORNEY GENE RAL WHO PROSECUTES FOR TIIE STATE AND T HE
2007-A-732        DEFENDANT IN PERSON, BEING REPRESENTED BY COUNSEL.

MOTION TO         THEREUPON, TillS CAUSE CAME ON TO BE HEARD BY THE COURT UPON A MOTION
SUPPRESS IS
                  TO SUPPRESS; AFTER DUE CONSIDERATION AND ALL 1HE EVlDENCE
TAKEN UNDER
ADVISEMENT        INTRODUCED, SAlD MOTION lS TAKEN UNDER ADVISEMENT WITH AN ORDER TO
WITH AN           BE ENTERED.
ORDER TO BE
ENlliRED          FURTHER, COUNT TWO IS CONTINUED UNTIL FEBRUARY 19, 2009 ON A MOTION FOR
                  NEW TRIAL.

                  LEE SPROUSE, ATTORNEY FOR DEFENDANT

                  J. WESLEY KING , ASSISTANT DISTRJ CT AITORNEY




                  ORDERED THAT COURT STAND ADJOURNED UNTIL IN1HE MORNINGATNINE
                  O'CLOCK.


                                          STEVt: DOZ IER, JUDGE




             Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 82 of 116 PageID #: 116
        IN THE CRIM INAL COURT FOR DJ\VIDSON COUNTY,
                             AT NASHVILLE
                                                                            TENN~}EJ-
                                                                                 f:l:tl 0
                                                                                         ~ 0
                                DIVISION J                                              L.ll   ~ &ltdf

 STATE OF TENNESSEE                              )
                                                 )
                                                 )
 V.                                              )         NO:    2007-J\-732
                                                 )
                                                 )
 FREDERICK BRAXTON                               )


                                              ORDER

        Thi s matter came before tht! Court on .January 23, 2009 upon the defendant's

 motion to suppress evidence seized as a result of his arrest. The defendant was arrested

 on March 16, 2006 and charged with one count of Misdemeanor Possession or Casual

 Exchange of Marijuana. At the hearing, the Court heard testimony frorn the orresting

 officer and argument of counsel. The Court took the mailer under advisement and has

 consolidated the find ings into this written nlcmorandum.

        The defendant argues the evidence was seized in violation of his fourth

 amendment rights because the officers did not have reasonable suspi cion or probable

 cause to seize him.

        At the hearing, Ofiicer Jones testified be received a call referencing a black male

 at a carwash, dressed all in black, ncar a   blu~   Monte Carlo automobi le waving a gun.

 Upon arrival, the officer did see the defendant, a black male, dressed a ll in black,

 standing ncar a blue Monte Carlo while it was being washed. The oflicer did not see a

 weapon and approached the defendant and explained why           h~   was there. The   def~ndant


 consented to a search of his person and ofthe veh icle. The officer did not uncl a weapon.

 The oniccr then asked for the defendant 's identification, which the defendant gave to



Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 83 of 116 PageID #: 117
 bim. The officer took the identification to h is patrol car and ran the defendant' s name

 throu gh the computer system for warran ts. Th ere was an outstanding probation violation

 warrant for the defend ant and he was ancstcd. i\. search incident to arrest uncovered a

 srnall amount of marij uana in the defendant's sock.

         According to both the Fourth Amendment and article I, § 7 of the Ten nessee

 Constitution, "a warrant less search or seiz ure is pres umt::d unreasonable, and ev idence

 discovered as a result thereof is subjec t to s uppression unless the State demonstrates that

 the search or seizure was con ducted pursuant to one of the narrowly defin ed exceptions to

 the warrant rt::quirern en t." State v. Yeargan, 958 S.W.2d 626, 629 (Tenn .l997) ·( citation

 ornitted); see also State v. Binette, 33 S. W .3 d at 21 ~ - Whi le anests and investigatory

 detentions impl icate varying degrees of constitutional protection, "not all personal

 intercourse between policemen and citizens involves 'se izures' of persons. Only when the

 ol'l1cer, by m~ans o f p hysical force or s how of authority, has in some w ay restrained the

 liberty of a citizen may we conclude th at a 'seizure' has occurred." Stale v. Daniel, 12

 S.W .3d 42 0,424 (qu oting Terry, 392 U.S. at 19 n. 16,88 S .Ct. at 1868).

         In this case, the Court iinds that the offlccr had reasonahle suspicion to approach

 the de1enrlant and investigate the assertions made in the an onymous ca ll. However, once

 the officer searched the defendant and did not discove r any e vidence to s upport the

 suspicion of criminal acti vity, he could not seize the defendant by taking h is license.

 "l W]ben an o1Ticcr retains a person's identi ()cation for tht:: purpose of running a

 computer check for outstanding warrants, no rcasonablt:! person believe th at he or she

 could simply terminate the encounter by asking the offi cer to return the idcntificatioJJ ,"

 therefore a seizure has occurTed with in the meaning of the Fourth Amendment and




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 84 of 116 PageID #: 118
                                                                                                 • t • 1     '   :   I   ~
                                                                                                 \,. ~ ~   l,.... \ ' (J
 Article 1, section 7. Daniel, at 427. The officer did not have a sufficient basis to support

 lhc seizure of the defendant.

         Based upon the foregoing analysis, the defendant's motion to suppress is granted.

 Entered this the   _S:JA- day of February 2009.


                                                               ~~
                                                               Steve R. Dozier, Judg
                                                               Criminal Court, Division I



 cc:    Lee Sprouse
        J. Wesley King




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 85 of 116 PageID #: 119
            IN THE CRIMINAL CQURT FOR DAVIDSON COUNTY, TENNESSEE
                                   'DIVIS I Pf'J I
STATE OF TENNESSEE                            )                                         ,,
                                              )                                         •.'

vs.                                           )              Case No. 2007-A-732                   ' .?
                                              )
FREDERICK BRAXTON                             )                                                           .,
                                                                                                           . ·"-·
                                                                                                               ..·
                                    MOTION TO CONTINUE

       Comes now Counsel for the Defendant, and respectfully moves this Honorable Court to

continue the court date in this cause. In support of this Motion, Counsel would show as follows:

       1.      This cause is currently set for hearing on June 5, 2009, at 9:00a.m.

       2.      Counsel for the Defendant has been unable to properly and thoroughly

               communicate with her client due to scheduling conflicts and the fact that the

               Defendant is housed in a facility outside Davidson County, Tennessee.

       For the above-mentioned reasons, Counsel for the Defendant would respectfully request

this Honorable Com1 to continue the court date in this cause to a date in the future.


                                                             Respectfully submitted,




                                                             A 1ley Prest   (025642)
                                                             /\Uorney for Defendant
                                                             Post Office Rox 11 193 5
                                                             Nashville, Te1messee 37222
                                                             (615) 772-5275

                                 CERTIFICATE OF SERVICE
        I, Ashley Preston, Attorney for Defendant, Frederick Rraxton, hereby certify that a true
and exact copy of the foregoing has been provided to the Oilice of lhe istrict Attorney General,
Washington Square Bldg., Suite 500, 222 Second A venue, North, ash vi e, Tennessee 37201,
on this the _ _ day of                , 2009.




 Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 86 of 116 PageID #: 120
       IN THE CRIMINAL COURT OF DAVIDSON                 COUNTY~     TENNESSEE
                          ATNASHVlLLE
                            f}v-:;::.
STATE OF TENNESSEE
                                                                                \



v.                                               CASE NO. 2007-A-732

LEONARD C. HARRIS


                        AMENDED MOTION FOR NEW TRIAL

            Comes the defendant, by ::md through counsel, pursuant to Tennessee Rule of

     Criminal Procedure 33 and respectfully requests this Honorable Court to grant him a new

     trial for the following reasons:

             1. The Trial Court erred by denying defense counsel for Mr. Harris to cross-

                examine James Williams regarding several instances namely:

                    a. The incident in which Mr. Williams was shot in chest while he

                        attempted to rob a home while armed.

                    b. The incident in which Mr. Williams was found by police and was in

                         possession of two guns and was wearing body armor.

                    c. The incident in which Mr. Williams was convicted of possessing a

                         weapon wherein he tossed the weapon from a moving vehicle.

            2. The Trial Court erred in allowing testimony regarding an alleged threatening

                gesture allegedly made by Mr. Harris towards Mr. Williams after a court

                proceeding prior to trial.

            3. The Trial Comt erred in allowing testimony regarding an alleged prior

                 shooting involving Mr. Williams and Mr. Harris holding that defense counsct

                 opened the door to such kstimony.




 Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 87 of 116 PageID #: 121
          4. The Trial Court erred by denying the defendant's motion for judgment of

              acquittal pursuant to Rule 29 of the TelU1essee Rules of Criminal Procedure as

              the evidence presented at trial was insufficient as a matter of law to convict

              Mr. Harris.

          5. The Trial Comt erred by failing to instruct the jury on the lesser-included

              offense of misdemeanor reckless endange rment.

          6. The Trial Comt erred by sentencing Mr. Harris to an excessive prison

              sentence.

          7. Prior counsel for the defendant provided ineffective assistance of counsel in

              that he opened the door to alleged prior shooting involving the defense and the

              victim when he asked the victim about prior altercations between the two.

           R. Prior counsel for the defendant provided ineffective assistance of counsel in

              that he failed to question the victi m and call witnesses' regarding the victim's

              blackmailing the defendant by offering to drop the charges if he wac; paid

              $20,000.

          9. Prior counsel for the defendant was ine11ectivc in that he failed to question the

              defendant about prior false reports in which the victim called the police on the

              defendant.

           I 0. Prior counsel for the defendant was ineffective in failing to establish through

              the police officers that that the suspect vehicle was not registered to Mr.

              Harris.

           11. That the defendant was denied a fair trial by the combination of all the

              forgoing errors.




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 88 of 116 PageID #: 122                    \I   t) ·.; \ ~ ~J ~)
                  WHEREFORE, defendant prays that he be granted a hearing on this Motion

              and that upon said hearing he be granted a new trial in this cause.

       Respectfully submitted,




       WILLIAM E. GRIFFITH #025417
       Attorney for Defendant Harris
       1308 Rosa L. Parks Blvd.
       Nashville, TN 37208
       (615) 254-0202




                                 CRRTlFICATE OF Sl.i:RVICE
 J herby certify that an exact copy of the foregoing has been sent lo the Wes King, 0 ffice of the
District Attorney, 222 Second /\venut:: North, Suite 500, Nashville, TN 37201 on this the;<_
day of )~ , 2009 via First Class Mail; Postage Prepaid.




                                            ~~
                                             WILLIAM E. GRiffiTH




 Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 89 of 116 PageID #: 123
           IN THE CRIMINAL COURT FOR DAVIDSON COUNTY, TENNESSEE
                                 DIVISION I
                                                          r:r;"":: I! ., ,·
                                                          ~'-' .•    ...        Z    -.,:


STATE OF TENNESSEE                           )
                                             )
                                             )
vs.                                          )              No. 2007-A-732
                                             )
                                             )
.FREDERICK BRAXTON                           )



                          AMENDED MOTION FOR NEW TRIAL


       Comes the Defendant, Frederick J3raxton, by and through counsel, pursuant to Tennessee

Rule of Criminal Procedure 33, and respectfully request this Honorable Court to amend the

Motion .For New Trial previously filed in this case and grant him a new trial for the following

reasons:

       1.      The trial court ened in denying Mr. Braxton the ability to cross examine Mr.

James Williams about certain subjects. Specifically, the Trial Court ruled that counsel for Mr.

Braxton could not cross examine Mr. Williams about the incident where he was shot in the chest.

This incident occurred while Mr. Williams was attempting to commit a robbery of a home while

anned with a weapon. Also, counsel was not allowed to cross examine Mr. Williams about the

incident where police foLmd him in possession of two guns, one with a thirty round clip. Mr.

Williams was also found to be wearing body armor on this occasion. Final ly, counsel was not

allowed to cross examine Mr. Williams about the specifics of a conviction from March 16, 2006,

wherein he was in possession of another weapon that he threw out of the sunroof of a moving

vehicle. These events took place one month after the incident in the present case.

       Mr. Braxton's theory of defense was that he was not present when Mr. WiJliams was shot

numerous times, therefore any proof that could establish that someone other than Mr. Braxton


                                                                                                  .   ..,
Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 90 of 116 PageID #: 124
                                                                         \' : ; ~ : ~ : ' '            I
had motive to inflict these injuries would be of the utmost relevance. Mr. Williams' history

paints him as a violent and dangerous man who lived an equally violent and dangerous lifestyle,

thus allowing this type of evidence would have aided the jury in deciding that a person other than

Mr. Braxton had reason to, and did, inflict the injuries on Mr. Williams. T.RE. 401. 402, State

v. Brown, 29 S.W.3d 427 (Tcnn.2000)

       2.      The trial court erred in allowing testimony from Mr. Wayne Miller during the

State's rebuttal that Mr. Braxton was in j ail on unrelated charges before f ebruary 15, 2006. This

testimony was highly prejudicial, such prej udice substantially outweighing any probative value it

may have had. TR.E. 403

       3.      The trial court erred by denying the defendant's motion for judgment of acquittal,

pursuant to Rule 29 of the Tennessee Rules of Criminal Procedure. The evidence presented at

trial was insuilicient as a matter oflaw to convict Mr. Braxton of Attempted Second Degree

Homicide.

       4.      The trial court erred by sentencing Mr. Braxton to an excessive prison term when

the State had filed no Notice of Enhanced Punishment and did not provide copies of certified

convictions. S'ee Tenn. Code Ann. §§ 40-15- 102, 40-35-l 03, 40-35-210.

       5.      Defendant was denied effective assistance of counsel by counsel's t:1ilure to

object and preserve for appeal a j ury insLruction on misdemeanor reckless endangerment.

       6.      Defendant was denied effective assistance of counsel when counsel failed to

object to the State's failure to file a Notice of Enhanced Punishment and allowing certain

convictions to be used against the Defendant at sentencing, by not requiring certified copies of

those convictions to he used, and hy failing to make a motion fo r a continuance.

       7.      Defendant was denied eiTectivc assistance of counsel when counsel failed to

provide a timely notice of an alibi witness, and by failing to call such witness at the trial of the




 Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 91 of 116 PageID #: 125
case.

        For the above-mentioned reasons, Counsel for the Defendant would respectfully request

this Honorable Com1 to grant the relief requested.




                                                           __LM.~'~-
                                                           Ashley Pre to (025642)
                                                           Altorney for Defendant
                                                           Post Oflice Box 11 193 5
                                                           Nashville, Tennessee 37222
                                                           (615) 772-5275




                                CERTIFICATE OF SERVICE
        I, Ashley Preston, Attomey for Defendant, Frederick Braxton, hereby certify that a true
and exact copy of the foregoing has been provided to the Office of the District Attorney General,
Washington Square Bldg., Suite 500, 222 Second Avenue, North, Nas · e, Tennessee 37201,
on this the _ _ day of               , 2009.




 Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 92 of 116 PageID #: 126
                  IN TI-f E CRIMINAL COURT OF DAVIDSON COUNlY, TENN ESSEE, DMSlON I
                  MINUTES, JULY 9, 2009

                  STATE OF TENNESSEE

                  vs.                   CASE NO. 2007-A-732

                  FREDERICK EDWARD BRAXTON

                  CAM E TH~ A ITORNEY GENERAL WHO PROSECUTES FOR 1HE STATE AND 1HE
                  DEFENDANT IN PERSON, BEING REPRESENTED BY COUNSEL.
2007-A-732
                  1HEREUPON, THIS CAUSE CAME ON TO BE HEARD BY THE COURT UPON MOTION
MOTlONl•OR        FOR NEW TRIAL ; AFTER DUE CONSIDERATION AND ALL TilE EVIDENCE
NEWTRlALlS
                  INTRODUCED, SAJD MOTION IS TAKEN UNDER ADVISEMENT WITH AN ORDER TO
'fAKRN UNDER
AOVTSEl'vfF.NT    BE ENTERED.
WITH AN
ORDERT013~        ASHLEY PRESTON , ATIORNEY FOR DEFENDANT
RNTRRED
                  J. WESLEY KJNG , ASSISTANT DISTRICT ATTORNEY


                  .~DERED    lHAT COURT STAND ADJOURNED UNTIL IN THE MORNING AT NINE
                  O'CLOCK.


                                          STEVE DOZIER JUDGE




             Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 93 of 116 PageID #: 127
                                                                                                              I
                                                                                     '-   l   "   \   •   ~   •
                  IN 1HE CRIMINAL COURT OF DAVIDSON COUNTY, TENNESSEE, DIVISION I
                  MlNUTES, JULY 9, 2009

                  STATE OF TENNESSEE

                  vs.                   CASENO. 2007-A-732

                  LEONARD CARDELL HARRIS

                  CAME TH E ATTORNEY GENERAL WHO PROSECUTES FOR 1HE STATE AND UIE
                  DEFENDANT IN PERSON, BEING REPRESENTED BY COUNSEL.
2007-A-732
                  1HEREUPON, THIS CAUSE CAME ON TO BE HEARD BY THE COURT UPON MOTION
MOTION FOR        FOR NEW TRlAL ; AFTER DUE CONSIDERATION AND ALL 1HE EVIDENCE
NEW TRIJ\L IS
                  INTRODUCED, SAID MOTION IS TAKEN UNDER ADVISEMENT WITH AN ORDER TO
T AKF.N UNDER
ADVTSE1v.IENT     BE ENTERED.
WITH AN
ORDF.R TO BF.     WILLIAM GRIFFITH , ATTORNEY FOR DEFENDANT
ENTERRD
                  J. WESLEY KING , ASSISTANT DISTRICT AITORNEY



                  ORDERED 1HAT COURT STAND ADJOURNED UNTIL IN 'I1-IE MORNING AT NINE
                  O'CLOCK.


                                          S1EVE DOZIER, JUDGE




             Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 94 of 116 PageID #: 128
                                                                        t:~ij        ~.~ \4.
        IN THE CRIM.INAL COURT FOR DAVIDSON COUNTY~TIDN~SSE~ .
                                      AT~¢~S~6~L LE                  l0\19 JUl 3 \ ~t\ \0: 21
                                                     1
  STATE OF TENNESSEE
                                                                      DA\110 C   il';mENCE CLERI<
                                                                                   ~---oc
                                                                       ~--
  vs.                                           CASE NO.: 2007-A-732

  JJEONARD C. HARRIS

                    MOTION FOR PERMISSION TO WITHDRAW

          Comes now, William E. Griffith, appointed counsel for Leonard C. Harris, and

   moves this Honorable Court for permi ssion to withdraw. In support ofthis Motion,

   undersigned counsel would show the following:

          1.     Undersigned counsel was appointed to represent the defendant after the

                 defendant alleged ineffective assistance of his trial counsel in his prose

                 motion for new trial.

          2.     Undersigned counsel represented the defendant at the Motion for New

                 Trial, which the Court took under advisement and still has not issued a

                 ruling on.

          3.     On July 30, 2009, undersigned counsel received a copy of a complaint

                 filed against him by the defendant with the Board of Professional

                 Responsibility that was fil ed on July 17, 2009.

          4.     The defendant has alleged that undersigned counsel has denied him

                 adequate representation.

          5.     A conflict has developed between undersigned counsel and the defendant.




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 95 of 116 PageID #: 129
                                                                         lj I; !.i\ l l ,' 1 ,-:'.
         WHEREFORE, undersigned counsel respectfully requests this Honorable Court

  allow him to withdraw as counsel for the defendant.



                                                Respectfully submitted,




                                                WILLIAM E. GRIFFITH, #025417
                                                1308 Rosa L Parks Boulevard
                                                Nashville, Tennessee 37208
                                                ( 615) 254-0202


                                   CERTIFICATE OF SERVICE

          I certify that a true and exact copy of the foregoing Motion has been sent via U.S .
  Postal Mail Service, Postage Pre-Paid to Leonard Harris, Charles Bass, 7177 Cockrill
  Bend Industrial Blvd., Nashville, Tennessee 37243 and Wes King, Assistant District
  Attorney, 222 2nd Avenue North, Suite 500, Nashville, Tennessee 720 1 on ·· the 31st
  day of July, 2009.




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 96 of 116 PageID #: 130
          JN THE CRIMINAL couRT :roR DAvinsoN coUNTY,                                 TE~~~s~ E D
                              AT NASHVILLE                                                               ,.-.{)
                                 DIVISION J                                                     'AtJG    Lrf
                                                                                                        4 Rec'u
 STATE OF TENNESSEE                                      )
                                                         )
                                                         )
 V.                                                      )
                                                         )        NO:      2007-A-732
                                                         )                 (Motion for New Trial)
 LEONARD CARDELL HARRIS                                  )

                                                   OiliER


          This cause came to be heard on July, 2009, on the defendant's "Motion for New.

 Trial." The defendant was convicted following a jury trial as to one count of Attempted

 Second Degree Murder. FolJowing a sentencing he<Jring, the Court imposed a nineteen

 year sentence to be served at 35% for potential parole eligibility. Based upon defendant's

 intentions to allege ine11ective assistance of counsel in his motion for a new trial, the
                                                                                            1
 Court relieved trial counsel and appointed new counsel lor the defendant. folJowing the

 hearing, the Court took the matter under advisement and has consolidated the findings

 into this written mcmorandurn.

          At the hearing, trial counsel testil.ied be had been on the case since it was in

 Genert~l   Sessions. I-lc stated he did not ask for a jury instruction on misdemeanor

 Reckless Endangerment.. He diu not make a Blakely objection because the date of the

 offense was atler the change in the law.

          The defendant alleges he is entitled to a new trial because he was denied

 ineffective assistance of counsel. Specifically he alleges counsel failed to request and or

 1
  1\ fter the hearing on this mallcr, the Court receivect a prose motion requesting curn:nl counsel he relieved.
 The Court reviewed the motion, lhc substance ofwhieh involvect counsel's questioning ol'lhc witness at the
 hearing. The finds that counsel did question the witness anct there is 110 rnerit to the request for relief. The
 motion is den ierl.



Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 97 of 116 PageID #: 131
 object to the omission of a jury instmction on Reckless Endangerment. llc also argues

 counsel failed to request a full discovery of.Jencks material. Further, he alleges counsel

 was ineffective due to opening the door to an Lmproven prior altercation that was

 suppressed by the trial court.

        The defendant alleges he is entitled to a new trial because the trial court sentenced

 him in violation of his Sixth Amendment right to counsel by enhancing his sentence

 without a jury dctennination. He alleges the trial comt erred in restricting counsel's

 ability to cross examine the victim on issues which the defendant asserts demonstrate the

 victim is a dangerous and violent man and thus someone else could have attempted to

 harm him. Further, he alleges the evidence was insufficient to convict him of Attempted

 Second Degree Murder.

        The Court "must weigh the evidence and grani a new trial if the evidence

 preponderates against the weight of the verdict." State v. Blanton, 926 S.W.2d 953, 958

 (Tenn. Crim. /\pp. 1996); sec also Tenn. R. Crim. P. 33{f). ln order to grant a new trial,

 "the trial judge must disagree with the jmy's findings on the quest.ion of the defend<mt's

 guilt." See State v. Hill, 856 S.W.2d I 55, 158 (Tenn. Crim. /\pp. 1993). The trial court

 must "independently weigh the evidence and assess the witnesses' credibility." See State

 v. Dankworth, 919 S.W 2d 52 (Tenn. Crim. App. 1955). The Court remembers this case

 and has reviewed its notes taken during the trial. In making this determination, the Court

 will examine all of the issues raised in the defendant's motion.

        The Court finds it was proper to limit counsel's potential cross examination of

 witness Williams based upon rhe rules of evidence and reaffirms the rulings made at lrial.

 The mling limited inf()rmation being presented that oceuned sixteen months prior to the




Case 3:20-cv-00251 Document 9-1 Filed
                                    2 06/08/20 Page 98 of 116 PageID #: 132
                                                                                                I s·   ' ) ··. ;
                                                                                                (., \ j \) ' . •.
                                                                                                                   I •.l2 •: ).
offense at issue. A defendant can present motives of third party offenders, but it must be

 more than assumptions or bare suspicions. See State v. Powers, 101 S. W.3d (Tenn.

 2003). The Comt believes there was sufficient evidence to convict the defendant of

 Attempted Second Degree Murder. The case was tried before a jury, and the jury

 returned a verdict against the defendant. The Court believes the evidence does not

 preponderate against the weight ofthe verdict. Additionally, the CoUI1 agrees with the

jury verdict per Tenn.R.Crim.P. 33. Therefore, this issue is denied. As to the defendant's

 sentence, the Court iinds the State filed a Notice of Enhanced Punishn1cnt and that the

 defendant's senteJ?ce was a product of the guidelines and appropriate range. Therefore,

 the defendant's allegations of errors by the trial court are denied.

        As to the defendant's claims of ineffective assistance of counsel, the Court iinds

 that the defendant has failed to demonstrate the allegations by clear and convincing

 evidence and has not shown any prejudice. Tbe Court finds the evidence at trial would

 not have supported a jury instruction on Misdemeanor Reckless Endangerment and

 fimher that the defendant has not demonstrated prejudice as a result. Further, the

 defendant has not provided any evidence or statements that were not made available to

 trial counsel. As to the defendant'~ allegations that trial counsel was ineffective in

 opening the door to a prior unproven altercation, the Court notes that trial counsel diu ask

 this question. Before the witness could answer the question, "Have you had any other

 altercations with Mr. Banis," the Court asked counsel if he wanted to ask that question.

 Trial counsel said he did wish to ask the question and the Court permitted him. Although

 the question opened the ability to question about other incidents in order to iillthe

 conceptual void as to the had blood between the defendant and the victim, much of this




Case 3:20-cv-00251 Document 9-1 Filed3 06/08/20 Page 99 of 116 PageID #: 133 lu· .. , IJ.. ; ).
                                                                                 \)\.)\ ..., l
 information was admissible even if brought out by the State. This information also

 allowed information about the complaining witness and possible unfavorable demeanor

 st:en by the jury. Even though potentially prejudicial, this was a taclical decision by trial

 counsel that rnay have had a valid defense motivation but certain ly does not rise to the

 necessary level of effecting the outcome of the tr1al.

         When a claim of ineffective assistance of counsel is raised, the defendant must

 prove his factual allegations by clear and convincing evidence. State v. Iloneycutt, 54

  S.W.3d 762 (Tenn. 2001). When a dcfcnd<mt raises an allegation ofineff.e etivc

  assistance of counsel the defendant must prove, by clear and convincing evidence, that:

  ( 1) counsel's perfonnance was deficient , and (2) the deficient pcrfonnance prejudiced the

 defense. See Strickland v. Washington, 466 U.,)'. 668. 687, 104 S. Ct. 2052, 2064, 80 L.

 Hd. 2d 674 (1984); see also State v. Burns, 6 S.W.3d 453,461 (Tenn. 1999). "Unless a

  defendant makes both show]ngs, it cannot be said that the conviction ... resulted from a

  breakdown in the adversary process that renders the result unreliable." Strickland, 466

  U.S. at 687, 104 S. Ct. at 2064. When the e.f.Tectivcncss and competency of one's counsel

  is challenged, the petitioner must show that his counsel's work was not "within the range

  of competence demanded of attomcy's in criminal cases," See Baxter v. Rose, 523

  S.W.2d. 930, at936 (Tenn. 1975); 'Ji'd.well v. State, 922 S.W.2d. 497, at 500 (Tenn .

  1996). Specifically, the Strickland court stated Lhe JollO\ving:

         First, the defendant must show that counsel's perfonnancc was deficient.
         This requires showing that counsel made errors so serious that counsel
         was not functioning as the "counsel" guaranteed the defendant by the
         Sixth Amendment. Second, the defendant must show that the deficient
         performance prejudiced the defen se. This requires showing that counsel
         errors were so serious as to deprive the defendant of a fair trial, a trial
         whose result is reliable. Unless a defendant makes both showings, it




Case 3:20-cv-00251 Document 9-1 Filed406/08/20 Page 100 of 116 PageID #: 134
           cannot be said that the conviction or sentence resulted from a breakdown
           in the adversary process that renders the result Hnrcliable.

 Strickland, 466 U.S. at 687, 104 S.Ct. at 2064, 80 L.Ed .2d 674 (1984); Tidwell, 922

 S. W.2d at 500.

           The Com1 find s the defendant has failed to demonstrate by clear and convincing

 evidence that trial counsel was inefiective in his representation. Furthcnnore, the

 defendant has not shown he was prejudiced. Therefore, the motion as to the claims of

 ineffective assistance of counsel is denied.

           Based upon the foregoing analysis, the defendant's motion for a new trial is

 denied.

 Entered this      qt:i of August, 2009.

                                                                L)~~~
                                                               Steve R. Dozier, Judg2::J
                                                               Criminal Court, Division I




 cc:       Will Griffith
           Rachel Sobrero




Case 3:20-cv-00251 Document 9-1 Filed506/08/20 Page 101 of 116 PageID #: 135
                                                                                j.:-   B tt
        IN THE CRIMINAL couRT FOR DAVIDSON couNTY, TENN!ss~l~                                 ED
                            AT NASHVILLE                      tf)
                               DIVISION 1               AOO 4- ~
 STATE OF TENNESSEE                             )
                                                )
                                                )
 V.                                             )
                                                )       NO:    2007-A-732
                                                )              (Motion for New Trial)
 FREDERICK EDWARD BRAXTON                       )


                                           ORDER
         This cause came to be heard on July 9, 2009, on the defendant's "Motion for New

 Trial." The defendcmt was convicted following a jury trial as to one count of Attempted

 Second Degree Murder. Following a sentencing hearing, the Court imposed an eleven

 year sentence to be served at 30%) for potential parole eligibility. Based upon defendant's

 intentions to allege ineffective assistance of counsel in his motion for a new trial, the

 Court relieved trial counsel and appointed new counsel for the defendant. Following the

 hearing, the Court took the matter under advisement and has consolidated the findings

 into this written memorandum.

         The defendant raised numerous issues in his motion for a new trial. Specifically

 he stated the trial court erred as to the following issues 1) by denying trial counsel the

 ability to effectively cross examine witness .James Williams about prior incidents

  involving weapons, crimes, and convictions. The defendant alleges these prior incidents

 would have demonstrated that someone other than the defendant had motive to inflict

 these injuries; 2} in pcnnitting testimony from Wayne Miller that the dclcndant was

  incarcerated on unrelated charges in Fchruaty 15, 2006; 3) denying the defendant's

  motion for judgment of acquittal because the evidence presented was insufficient as a




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 102 of 116 PageID #: 136
 matter of law to convict the defendant of Attempted Second Degree Murder; and 4) by

 sentencing the defendant to an excessive prison term based upon the defendant's

 allegation that the State did not file notice of enhanced punishment and did not provide

 copies of certified convictions. Additionally, the defendant alleges he received ineHective

 assistance of counscl 1 due to counsel's failure to 1) object and preserve for appeal a jury

 instrucUon on misdcn1eanor reckless endangerment; 2) to object to the state's failure to

 file a Notice of Enhanced Punishment and not requiring certified convictions be used; 3)

 to make a motion for a continuance; 4) to provide a timely notice of alibi witness and

 failing to call such witness at trial.

          At the hearing, trial counsel testified that he had approximately two months to

 prepare for the trial. 2 He believed he was prepared to go forward and the deJendant

 wanted to go to trial. lie met with the defendant five or six times at length and filed a

 motion to sever the counts which was granted by the Cou11. lie stated he made a tactical

 decision not to call witness Ma11in as an alihi witness and the defendant did not make an

 objection to this decision. Trial counsel stated he was conccmcd about the fact that

 Martin would have provided different testimony than the co-defendant's two alibi

 witnesses. As to the dcl.endant's prior convictions for sentencing purposes, trial counsel




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   As the Court advised the defendant, claims of ineffective assistance of counsel are generally more
 appropriately raised in a petition for post- conviction relief rather than on direct appeal. See State v.
 Carruthers, 35 S.W.3d 516, 551 (Tenn. 2000); see also State v. Anderson, 835 S.W.2d 600, ()0() (Tenn.
 Crim. App. 1992).
 1
   The defendant was represented at arraignment on March 28, 2007 by the Public Defender's Office. Due to
 the discovery of a conflict, the otllce was relieved and new couusel appointed on May 24, 2007. The case
 was set for trial on November 26, 2007. The defendant filed a motion to continue the trial date which the
 Court granted and reset the case for April 14, 200~ for trial. The co-defendant filed a motion to continue 011
 March 27, 2008, which was granted by the Court and the case wns reset for trial for August 18, 2008.
 During that time period counsel for the defendant discovered a conflict with a key witness and was required
 to be relieved. The Court again appointed new counsel who subsequently represc.:nted the dekndant at trial
 on October 13,2008.


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 testified he reviewed the notice the State had filcd 3 and found the convictions were all

 valid. In total, trial counsel testified he spend over 37.5 hours on the case which

 necessitated a complex case order from the Court.

             The Court "must weigh the evidence and grant a new trial if the evidence

 preponderates against the weight of the verdict." State v. Blanton, 926 S. W .2d 953, 958

 (Tenn. Crirn. App. 1996); see also Tenn. R. Crim. P. 31(f). In order to grant a new trial,

 "the tria] judge must disagree with the jury's llndings on the question of the defendant's

 guilt." See State v. !Iill, 856 S.W.2d 155, 158 (Tenn. Crim. App. 1993). The trial comt

 must "independently weigh the evidence and assess the witnesses' credibility." See State

  v. Dankworth, 919 S. W 2d 52 (Tenn. Crim. App. I 955 ). The Court remembers this case

 and has reviewed its notes taken during the trial. In making this determination, the Court

  will examine all ofthe issues raised in the defendant's motion.

             The Court finds it was proper to limit counsel's potential cross examination of

  witness Williams hascd upon the rules of evidence and rcatTinns the rulings made at trial.

 The Court allowed trial counsel to inquire about Williams' convictions but information

  concerning facts of the witness' activities sixteen months before the incident at issue in

  trial was not relevant. The Court finds the testimony from witness Miller regarding the

  defendant's incarceration prior to february 15, 2006 was probative and relevant to the

  issue of witness Chistman's testimony that she saw the defendant at her apartment on

  dates that he was shown to be incarcerated. The Court believes there was sufficient

  evidence to convict the defendant of Attempted Second Degree Murder. The case was

  tried before a jury, and the jury returned a verdict against the defendant. The Court

  believes the evidence docs not preponderate against the weight of the verdict.

  J   The State tiled a notice of enhanced punishmcnl hascd on prior convictions on November I 6, 2007 .


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                                                                                                                                  . J.
 Additionally, the Court agrees with the jury verdict per Tenn.R.Crim ..P. 33. Therefore,

 this issue is denied. As to the defendant's sentence, the Court finds the State did file a

 Notice of Enhanced Punishment and that the defendant's sentence was a product ofthe

 guidelines and appropriate range. Therefore, the defendant's allegations of errors by the

 trial com1 are denied.

         As to the defendant's claims of ineffective assistance of counsel, the Court finds

 that the defendant has failed to demonstrate the allegations by clear and convincing

 evidence and has not shown any prejudice. The Court finds the evidence at trial would

 not have supported a jury instruction on Misdemeanor Reckless E,H dangerment and

 further that the defendant has not demonstrated prejudice as a result. The Court accredits

 the tcstin1ony of trial counsel that he investigated all of the defendant's prior convictions

 and believed they were valid. The Court finds the State had t11cd timely a notice of

 enhanced punishment. The Court finds counsel was not ineffective in failing to call

 witness Marlin. The Court accredit<> counsel 's testimony that it was a tactical decision

 and that the defendant did not object. Trial counsel did call a witness, Chistman, who

 testi.t1cd she saw the defendant at the time of the shooting at her apartm.cnt on February

 15, 2006 and also stated she saw the defendant on Fchnmry 5 and Febmary 6.

         When a claim of ineffective assistance of counsel is raised , the defendant must

 prove his factual allegations by clear and convincing evidence. State v. Honeycutt, 54

 S.W.3d 762 (Tenn. 200 1). When a defendant raises an allegation of ineffective

 assistance of counsel the defendant must prove, by clear and convincing evidence, that:

 (I) counsel's performance was de1icicnt, and (2) the deficient perfonnancc prejudiced the

 defense. See Strickland v. Washington. 466 U.S. 668, 687, 104 S. Ct. 2052, 2064, 80 L.




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 Ed. 2d 674 (1984); see also State v. Burns, 6 S.W.3d 453,461 (Tenn. 1999). "Unless a

 defendant makes both showings, it cannot be said that the conviction .. . resulted from a

 breakdow n in the adversary process that renders tl1e result unreliable." Strickland, 466

 U.S. at 6R7, 104 S. Ct. at 2064. When the effectiveness and competency of one's counsel

 is challenged,. the petitioner must show that his counsel's work was not "within the range

 of competence demanded of aUomcy 's in criminal cases," See Baxter v. Rose, 523

 ~.W .2d.   930, at 936 (Tenn. 1975); Tidwell v. State, 922 S.W.2d. 497, at 500 (Tenn.

  1996). Specilically, the Strickland court stated the follow ing:

         First, the defendant llJ.USt show tl1at counsel's performance was deficient.
         This requires showing that counsel made errors so serious that counsel
         was not functioning as the "counsel" guaranteed the defendant by the
         Sixth Amendment. Second, the defendant must show that the deficient
         perf01mancc prejudiced the defense. This requires showing that counsel
         errors were so serious as to deprive U1e defendant of a fair trial, a trial
         whose result is reliable. Unless a defendant makes both showings, it
         cannot be said that the conviction or sentence resulted from a breakdown
         in the adversary process that renders the result unreliable.

 Strickland, 466 U.S. at 687, 104 S.Ct. at 2064, 80 L.Ed.2d 674 (1984); Tidwell, 922

 S.W. 2d at 500.

         The Court fin ds the defendant has failed to demonstrate by clear and convincing

 evidence that trial counsel was inelkctivc in his representation. Furthern1orc, the

 defendant has not shown he was prejudiced. Therefore, the motion as to the claims of

 ine1Tcctivc assistance of counsel is denied.

         Based upon the foregoing analysis, the defendant's motion is denied.

 Entered this      £ o f August, 2009.



                                                                SteveR. Do7.icr, .Ju ,
                                                                Criminal Court, Division I



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 cc:   Ashley Preston
       J. Wesley King




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                                                                        c ifi ~r\
        IN THE CRJMINAL COURT OF DAVIDSON COUNTY,                     TdNNk~E'· )
                           AT NASHVILLE
                             .DIVISION I          100~ AUG                     '0   Pt1 3: ' t

                                                                      ~:~J!!- ru:
STATE OF TENNESSEE


v.                                               CASE NO. 2007-A-732




                                 NOTICE Q}r APPEAL

             Comes the defendant, by and through counsel, and hereby gives Notice of Appeal

     from the Order ofthe Criminal Court of Davidson County, Division 1 entered on August

     4, 2009 denying his motion for new trial. The defendant submits that this Notice of

      Appeal is timely filed.




     Respectfully s ubmitted,




      WILLI AM E. GRIFFITH #025417
     Attom ey for Defendant Han-is
     1308 Rosa L. Parks Blvd.
     NashviHe, TN 37208
     (615) 254-0202




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 108 of 116 PageID #: 142 u'J:.
                                                                                                 . !   t"\   1   I#?'
                                                                                                             .    . .)
                                CERTIFICATE OF SERVICE
 I herby certify that an exact copy of the foregoing has been sent to the Wes King, Office of the
District Attorney, 222 Second Avenue North, Suite 500, Nashville, TN 37201 and the Office of
the Attorney General, 425 Fifth Avenue North, Nashville, TN 37243 on this the     7   day of
fr)·~ ~.r:2009 via First Class Mail~ Postage Prepaid.




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Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 109 of 116 PageID #: 143U!J \.. :               \' l
         IN THE CRlMINAL COURT FOR DAVIDSON COUNTY,                                TENNES~ I l            ED
                             AT NASHVILLE                                                                 /fj
                               DIVISION I                                                         AUG 18. Recti

 STATE OF TENNESSEE                                   )
                                                      )
                                                      )
 V.                                                   )
                                                      )         NO:      2007-A-732
                                                      )                  (Motion)
 LEONARD CARDELL IIARRIS                              )

                                                 ORDER


         This caust! camt! to before the CoUit on defense counsel's motion for permission

 to withdraw from representation. Counsel requests pennission to withdraw citing the

 defendant's asse1tion that he has not received adequate representation and that a

 complaint has been filed with the Board of Professional Responsibility. Counsel was

 appointed to represent the above captioned defendant in his pursuit of his motion for a

 new trial. Thc:n motion was heard and denied by the Court on August 4, 2009. In that

 motion, the defendant had asked for coum;el to be relieved and that request was denied.

 The Court finds that there has been no evidence of defense counsel's representation being

  inadequate and finds that his representation in this court on this matter is concludcd. 1

 Therefore, tht! motion shall be denied .

 Entered this     /<fj
                         ±tof August, 2009.


                                                                                        ~.~.
                                                                            ve R. Dozier, Judgb.--
                                                                         Criminal Court, Divisi on I



  1
  Trial counsel may chose to pursue a motion to withdraw at the appellate level if approprial.c grounds
 clevelop.


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 cc:    Will Griffith
        Rachel Sobrero




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Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 111 of 116 PageID #: 145 1 ' '   I   I! (~
         JN THE CRIMINAL COURT FOR DAVIDSON COtJNTY, TENNESSEE
                             AT NASHVILLE
                               OIVISION I


STATF. OF TENNESSEE                           )
                                              )
                                              )
v.                                            )       No.     2007-A-732
                                              )
                                              )
FREDERICK BRAXTON                             )
15otAt ~ ?J.,~ ~ I                   NOTI CE OF APPEAL

       Comes now the petitioner, by and through counsel, and hereby gives Notice of Appeal

from the Order oflhe Criminal Court of Davidson Cotmty, Division I, entered on August 4,

2009, which denied petitioner's Motion for New Trial and Ineffective Assistance of Counsel

claims. The petitioner now submits that this Notice of Appeal is time ly filed.



                                                              Respectfully Submitted,




                                                              As lley Pr s n, #025642
                                                              Attorney for the Petitioner
                                                              Post Offi ce Box .111935
                                                              NashviH c, Tennessee 37222
                                                              (615) 772-5275




                                 CERTIFICATE OF SERVICE

        J hereby certify that a true and exact copy of the foregoing noti ce has been delivered to
the Office oflhe District Attorney General, Washington Square Bldg., 222 Second J\venue
N01th, Nashville, Tennessee 3720 I, on this the 'l!i._ day of          2009.

                                                                   dJ 0u,~         (Ji(


Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 112 of 116 PageID #: 146
         IN THE CRIMINAL COURT FOR DAVIDSON COUNTY, TENNESSEE
                             AT NASHVILLE
                               DIVISlON I


STATE OF TENNESSEE                            )
                                              )
                                              )
v.                                            )       No.     2007-A-732
                                              )
                                              )
FREDF,RICK BRAXTON                            )

                                    DESlGNATION OF RECORD

       Comes now the petitioner, by and through counsel, and hereby requests the Criminal

Cou11 of Dav idson County, Division I to authorize the transcript of pre-trial motions, orders,

trial, sentencing hearing, and motion for new trial in this case to be prepared by the court reporter

and filed with the Davidson County Criminal Court Clerk's Office. The petitioner in this cause

has been declared indi gent and said counsel has been appointed to represent him. Specifically,

the defendant asks that the transcript be prepared of the pre-trial motions, orders, opening

statements, trial and closing arguments that took place on October 13, 14, and 15, 200X; the

sentencing hearing which took place on November 24, 2008; and the Motion for New Trial

which took place on July 9, 2009.

                                                              Respectfully Submitted,




                                                              Ash ey J>r sto , #025642
                                                              Attorney fo 1e Petitioner
                                                              Post Office Box 111935
                                                              Nashville, Tennessee 37222
                                                              (615) 772-5275




Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 113 of 116 PageID #: 147
                                CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing notice has been delivered to
the Office ofthe District Attorney General, Washington Square Bldg., 222 Second Avenue
North, Nashville, Teamessee 37201, on this the 2f' day of Jlllf!d;. 2009.

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Case 3:20-cv-00251 Document 9-1 Filed 06/08/20 Page 114 of 116 PageID #: 148
                IN THE CRIMINAL COURT FOR DAVIDSON COUNTY, TENNESSEE




     TATE OF TENNESSEE

      S.                                                             NO. 2007-A-732



     EONARDHARRIS

                                CERTIFICATE OF APPELLATE RECORD

           I, David C. Torrence, Criminal Court Clerk of Davidson County, Tennessee, do hereby

     ertify that the folloWing items h~rewith transmitted to the Court of Appeals are originals or true

     nd correct copies of all of the dE!signated papers on file in my office in the captiorts case.

                    1. Teclmicai      reco~d attached to this record and consisting of 113 pages contained

                        in 1 voiume.

                 \J2.   l i volumes of transcript authenticated by the Trial Judge or aUtott1atically
                        l~tll~ntic~ted under T.R.A.P. Ru~e 24(f).
                                                                                            .             .
                   3.   k~hibits flied in my office and autherttica:ted by the Trial Judg~ ~r as provided by
                        t.ttAJ~ Rul~ 24(f) and described as follows:
                        '.     : i:
                        Jury tr!ai (10·13-08)
                     ~ Exh!bit l(A-C): Photographs
                     ~ Exhibit 2(A-L): Photographs



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                       Exhibit 4(A-H): Photographs

                 \     Exhibit 6: Map

                       The following exhibits of unusual bulk or weight have been retained in my office

                       due to their size, and are described as follows:

                       Exhibit 3: Spent Casings/Projectile Pieces

                       Exhibit 5: 12 Spent Casings



                       Sentence Hearing (11 -24-08)

                  \Exhibit I : Pre-Sentence Report I Braxton

                     '-..!Exhibit 2: Pre-Sentence Report I Harris

                 This 23rd day of November, 2009.

                                                          }jud(, ~
                                                           DAVID C. TORRENCE
                                                                                 f#-11 ~ /J?1JA/Jil//

                                                           CRIMINAL COURT CLERK
                                                           DAVIDSON COUNTY, TENNESSEE




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